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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11

12   DAWN DANGAARD, et al.,                        CASE NO. 3:22-CV-01101-WHA
13                 Plaintiffs,                     DECLARATION OF DEVIN S.
14                                                 ANDERSON IN SUPPORT OF
            v.                                     META’S STATUS REPORT ABOUT
15                                                 ORDERED DISCOVERY AND
     INSTAGRAM, LLC, et al.,                       REQUEST FOR AN EXPEDITED
16                                                 SUMMARY JUDGMENT BRIEFING
                   Defendants.                     SCHEDULE
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     DECLARATION OF D. ANDERSON                                          CASE NO. 3:22-CV-01101-WHA
         Case 3:22-cv-01101-WHA            Document 166-1        Filed 07/06/23      Page 2 of 154



 1          I, Devin S. Anderson, declare as follows:
 2          1.      I am an attorney at law, a member in good standing of the bars of the District of Columbia
 3   and the state of Utah and am duly admitted to practice before this and other courts. I practice with Kirkland
 4   & Ellis LLP, and am counsel of record for Defendants Meta Platforms, Inc., Facebook Operations, LLC,
 5   and Instagram, LLC (collectively “Meta”) in this matter and one of the firm’s attorneys chiefly responsible
 6   for this representation.
 7          2.      I submit this declaration in support of Meta’s Status Report About Ordered Discovery and
 8   Request For An Expedited Summary Judgment Briefing Schedule.
 9          3.      I have personal knowledge of the matters in this declaration, and I am competent to testify
10   to the same.
11          4.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the transcript of the
12   June 8, 2023 deposition of Sir Nicholas Clegg, from which certain portions concerning sensitive
13   information have been redacted, including references to a minor. See Nov. 30, 2022 Order re Motions to
14   Dismiss (ECF No. 101) § 6 (permitting such redactions).
15          5.      Attached hereto as Exhibit 2 a true and correct copy of excerpts of the transcript of the
16   May 25, 2023 deposition of Lady Nicola Mendelsohn, from which certain portions concerning sensitive
17   information subject to a pending motion to seal (ECF No. 145) have been redacted.
18          6.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the transcript of the
19   May 30, 2023 deposition of Cristian Perrella.
20          7.      Attached hereto as Exhibit 4 is a true and correct copy of the Objections of Non-Party
21   Media Entity Advance Magazine Publishers Inc. to Plaintiffs’ Subpoena to Testify at a Deposition in a
22   Civil Case, dated April 19, 2023.
23          8.      Attached hereto as Exhibit 5 is a true and correct copy of excerpts of the transcript of the
24   May 24, 2023 deposition of Dell Cameron.
25          9.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts of the transcript of the
26   May 25, 2023 deposition of Andrew Couts.
27          10.     Attached hereto as Exhibit 7 is a true and correct copy of Non-Party HSBC Bank USA,
28   N.A.’s Objections to Subpoena, dated April 28, 2023.
      DECLARATION OF D. ANDERSON                          2                         CASE NO. 3:22-CV-01101-WHA
         Case 3:22-cv-01101-WHA            Document 166-1         Filed 07/06/23       Page 3 of 154



 1           11.     Attached hereto as Exhibit 8 is a true and correct copy of Plaintiffs’ Objections and
 2   Responses to Defendants Instagram, LLC, Facebook Operations, LLC, and Meta Platforms, Inc.’s First
 3   Set of Requests for Production of Documents (Issued Pursuant to March 29, 2023 Order), dated May 8,
 4   2023, from which a reference to a minor has been redacted. See Nov. 30, 2022 Order re Motions to
 5   Dismiss (ECF No. 101) § 6 (permitting such redactions)
 6           12.     Attached hereto as Exhibit 9 is a true and correct copy of Plaintiffs’ May 23, 2023
 7   production of documents pursuant to Meta’s Requests for Production, produced with Bates numbers
 8   Dan-Pltf-000001 to Dan-Pltf-000013.
 9           13.     Attached hereto as Exhibit 10 is a true and correct copy of the March 23, 2023 Declaration
10   of Sir Nicholas Clegg, from which certain portions referencing a minor have been redacted. See Nov. 30,
11   2022 Order re Motions to Dismiss (ECF No. 101) § 6 (permitting such redactions).
12           14.     Attached hereto as Exhibit 11 is a true and correct copy of the March 23, 2023 Declaration
13   of Lady Nicola Mendelsohn.
14           15.     Attached hereto as Exhibit 12 is a true and correct copy of the March 23, 2023 Declaration
15   of Cristian Perrella.
16           16.     Attached hereto as Exhibit 13 is a true and correct copy of the Declaration of Sabrina
17   Mannai in Support of Meta Defendants’ Response to Plaintiffs’ Administrative Motion to Consider
18   Whether Certain Materials Should be Sealed (ECF No. 145-1), dated April 4, 2023.
19           I declare under penalty of perjury under the laws of California that the foregoing is true and correct.
20           Executed this 6th day of July 2023, in Salt Lake City, Utah.
21

22                                                  Devin
                                                    Devi
                                                       in S
                                                          S. Anderson
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      DECLARATION OF D. ANDERSON                                                      CASE NO. 3:22-CV-01101-WHA
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            EXHIBIT 1
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 1                    UNITED STATED DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
 2
 3                   CASE NO. 3:22-CV-01101-WHA
 4      DAWN DANGAARD, a/k/a ALANA
        EVANS, ASHLEY NICOLE MILLER,
 5      a/k/a NICOLE ANISTON, KELLY
        GILBERT, a/k/a KELLY PIERCE,
 6      JENNIFER ALLBAUGH, a/k/a RUBY,
        and LAURA ALLEN, a/k/a AMBER
 7      LYNN on behalf of themselves and all
        others similarly situated,
 8                     Plaintiffs,
 9      V.
10
        FENIX INTERNET LLC, FENIX
11      INTERNATIONAL INC., META
        PLATFORMS, INC., INSTAGRAM,
12      LLC, FACEBOOK OPERATIONS, LLC,
        LEONID RADVINSKY, and JOHN
13      DOES 1-10,
                       Defendants.
14      _____________________________________
15
16                               Remote Proceedings
                                 June 8, 2023
17                               8:15 a.m. - 11:34 a.m.
18                 DEPOSITION OF NICHOLAS CLEGG
19       * * HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY * *
20          Taken before SUZANNE VITALE, R.P.R., F.P.R.
21      and Notary Public for the State of Florida at Large,
22      pursuant to Notice of Taking Deposition filed in the
23      above cause.
24
25

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 1      or organization on the DIO list?
 2             A.   Absolutely not.
 3             Q.   Have you ever heard of an allegation that
 4      anyone at Facebook took money in order to manipulate
 5      the content moderation treatment of an individual or
 6      an entity?
 7             A.   No, never.
 8             Q.   If it had happened, would you have known
 9      about it or might that be outside of your remit?
10                  MR. ALLEN:     Object to form.
11                  MR. STERNBERG:       Object to form.
12                  THE WITNESS:      I think the gravity of the
13             allegation would be such that it would
14             definitely be escalated to senior executives
15             such as myself.
16      BY MR. AZAR:
17             Q.   Are you familiar with -- so you've never
18      heard of anyone being terminated for taking some
19      consideration to favor an individual organization in
20      terms of content moderation; is that correct?
21             A.   Correct.    In terms of content moderation,
22      I am unaware of anyone being accused of abusing the
23      system for personal gain.
24             Q.   How about broader than content moderation?
25      Are you aware of anyone at Facebook/Meta taking

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 1      to GIFCT, okay.
 2                  You testified generally that you weren't
 3      familiar with the granular details about, you know,
 4      people who -- how people who affiliate, let's say,
 5      with someone from the terrorist list or designated.
 6                  My question is:        Are you familiar with any
 7      documents that provide those granular details,
 8      really for any of the systems that you've
 9      identified?
10                  MR. ALLEN:     Object to form.
11                  THE WITNESS:      I know that more detailed
12             guidance must exist, otherwise these systems
13             can't operate.    I, myself, do not -- I, myself,
14             am not familiar with them, don't delve into
15             them.   Don't make it my business to read them.
16      BY MR. AZAR:
17             Q.   Okay.     And in terms of who you would ask
18      to get access to those manuals or detailed
19      documents, would it be the same people you
20      identified earlier in our conversation?
21             A.   Yes, it would be.
22             Q.   Okay.     Have you ever communicated with
23      OnlyFans in any -- for any capacity?
24             A.   No.
25             Q.   Actually, let me -- for any capacity.                 For

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 1      any purpose.
 2                  Have you ever communicated with OnlyFans
 3      for any purpose?
 4             A.   No.
 5             Q.   Have you ever communicated with
 6      Mr. Radvinsky, R-A-D-V-I-N-S-K-Y, for any purpose?
 7             A.   No.
 8             Q.   Have you ever communicated with anyone by
 9      the last name of Stokely for any purpose?
10             A.   No.
11             Q.   Are you aware of anyone else at Meta who
12      communicated with OnlyFans for any purpose?
13             A.   Am I -- sorry, can you ask the question
14      again?
15             Q.   Sure.
16                  Are you aware of anyone else at Meta who
17      communicated with OnlyFans for any purpose?
18             A.   Well, we have OnlyFans representation on
19      this call.    So I don't -- do you mean outside this
20      litigation?
21             Q.   I do mean outside this litigation, yes.
22             A.   Oh.   Not to my knowledge.               That doesn't
23      mean there isn't communication.             There's
24      communication between Meta and other entities all
25      the time.    But to my knowledge or at least I have no

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 1      recollection of that ever being brought to my
 2      attention.
 3             Q.   Okay.     Are you aware of anyone else at
 4      Meta, outside of this litigation, who communicated
 5      with Mr. Radvinsky for any purpose?
 6             A.   Since I haven't the faintest idea who
 7      Mr. Radvinsky is, no, I don't.
 8             Q.   Okay.     Do you recall ever discussing with
 9      anyone at Meta, outside of this litigation, the
10      activity of any adult performer on any of the Meta
11      platforms?
12             A.   No.
13             Q.   Do you recall discussing, outside of this
14      litigation, with anyone at Meta, the activity of any
15      adult platform on any of the Meta platforms?
16             A.   No.
17             Q.   I'm not sure if I repeated "Meta platform"
18      in that question, but I --
19             A.   No.
20             Q.   Do you have any knowledge of the content
21      of any adult platform -- sorry.             Let me start again.
22                  Do you have any knowledge of the content
23      of any adult performer being added to the GIFCT
24      database?
25             A.   Absolutely not.

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 1                  Do you have any information about the
 2      extent to which OnlyFans is linked from Instagram or
 3      any of the other social media sites run by Meta?
 4             A.   No, I don't have that information.
 5             Q.   Okay.     Do you have any information, other
 6      than what you have testified to today so far, about
 7      any content enforcement against any adult performer?
 8             A.   No, I don't have that information, no.                 I
 9      could -- I could ask to find out that information
10      but I haven't done so ever.            I don't have that
11      information available to me now.
12             Q.   If you wanted to ask someone for that
13      information, would it be the same people you
14      identified earlier?
15             A.   Yes.
16             Q.   Would your answer be the same, instead of
17      asking about adult performers, if I asked about
18      adult platforms, do you have any other information
19      about content enforcement actions or lack of actions
20      against any adult platform?
21             A.   It's not something that's ever really come
22      up in my work.
23             Q.   Okay.     Did you, by any chance, speak with
24      Lady Mendelsohn about her deposition in this case?
25             A.   No, I didn't.

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 1      that there were many -- many content was
 2      miscategorized within the database of terrorist
 3      content?
 4             A.   Yeah, I've never been told that.
 5             Q.   Have you -- other than through this case,
 6      has anyone ever told you that anyone did an
 7      investigation of any kind, an interim investigation
 8      that tracks anything covered in this Exhibit 22?
 9                  MR. STERNBERG:       Object to form.
10                  THE WITNESS:      No, it seems from top to
11             bottom to be a wholly fictional artifact.
12      BY MR. AZAR:




19                  MR. ALLEN:     Objection.
20                  MR. AZAR:     I'm sorry.
21                  MR. ALLEN:     Go ahead and finish, David.
22                  MR. AZAR:     Sure.
23      BY MR. AZAR:
24             Q.   -- that track or have any overlap with the
25      content of this document?

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 1      BY MR. AZAR:
 2             Q.   I'm not asking you to waive anything.                 I'm
 3      asking you as a business executive, whether or not
 4      you would feel comfortable authorizing somebody who
 5      had something to say that corroborated any
 6      information in this report to speak to us without
 7      fear of retaliation or breach of an NDA, without
 8      taking a legal?
 9                  MR. STERNBERG:       Object to form.
10                  THE WITNESS:      I would speak to my
11             attorneys about that.        And it's exceptionally
12             difficult to provide responses on the basis of
13             entirely, you know, fictitious allegations and
14             entirely fabricated documents.
15      BY MR. AZAR:
16             Q.   Right.    That's not my question.
17                  My question is if there was somebody out
18      there who is a current or former employee of Meta
19      who believes that they have testimony that supports
20      any of the allegations against you in this document,
21      from a business perspective, not from a legal one,
22      would you have an objection to them speaking to us
23      without a risk of retaliation or claim of breach of
24      an NDA?
25                  MR. STERNBERG:       Object to form.

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 1                  THE WITNESS:      My answer is the same as
 2             before.   This is -- this is an elaborate
 3             fictitious account with no grounding in reality
 4             whatsoever.    So I'm simply not -- I can't
 5             provide answers to wholly hypothetical
 6             questions related to something which I know to
 7             be wholly false.
 8      BY MR. AZAR:
 9             Q.   As you were reading this document and
10      looking at the wire transfer records, did any
11      thought occur to you non-privileged about who might
12      have written such a thing or created such documents?
13             A.   No, it's a complete mystery to me,
14      complete mystery to me.
15             Q.   When you read this document that we're
16      looking at, Exhibit 22, do you have an impression in
17      your own mind about whether or not this likely was
18      written by somebody at Meta?
19                  MR. ALLEN:     Object to form.
20                  MR. STERNBERG:       Object to form.
21                  THE WITNESS:      It's clearly someone who's
22             seeking to give the impression that they worked
23             at Meta because this is a fictional transcript.
24             It's not even an original copy of what purports
25             to be an internal document, so they clearly

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 1                  I mean, just describing it, I hope
 2      underlines how ludicrous this is and how false it
 3      is.
 4             Q.   Well, listen, I'm not -- I understand that
 5      you're -- I understand your testimony for that.
 6                  But I think for this purpose really what
 7      you're saying is you just deny it entirely, it did




10                  All right --
11             A.   I'm very happy to -- but, obviously, as
12      you just suggested, since all of the events here
13      described are false, my responses are consistently
14      going to say that they're false because they are,
15      and I'm very happy to obviously continue to do that,
16      but that is, obviously, one follows from the other.
17             Q.   I understand.
18                  And I'm not going to give you any other
19      information about this.        I just want to focus on
20      your own knowledge.
21             A.   Sure, sure.




25                  Am I correct that your testimony is all of

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 1      this is false, there's no truth whatsoever to any of
 2      this content?     And I'm referring to basically one,




 7                  We can do it paragraph by paragraph or if
 8      you feel comfortable, you can tell me that there's
 9      no truth to any of this.
10             A.   Totally comprehensively false and some of
11      the detail -- alleged false detail alleged here is
12      also insulting.




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 1      London office.        But, no, I wasn't even here so I
 2      couldn't have done -- even if this false account was
 3      true, I wasn't physically here.
 4             Q.   Right, I just was wondering do you recall
 5      hearing anything about anything like that, about a
 6      bunch of people being asked to sign documents such
 7      as NDAs in or around January of 2019?
 8             A.   I can't see any reference here to NDAs in
 9      that paragraph.        Am I missing something?
10             Q.   No, I'm asking you whether you signed
11      documents.    The NDA stuff comes from someone else's
12      testimony.
13                  But as far as the documents go, I was
14      giving you an example when I asked to sign the
15      documents.
16             A.   I literally have no idea what this is
17      about because it's false, so I'm not -- I'm not
18      likely to have known.
19             Q.   Okay.      I think you've already covered the
20      next two paragraphs on other testimony.
21                  You also covered the next one.
22                  Let me then go down to the paragraph that
23      says, "In addition."
24                  You already testified that you have no
25      knowledge of white-listing.             But I want to focus on

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 1      same way I do but basically I left the exhibit tab
 2      the same as what we're submitting to a bank.                  So I'm
 3      showing you a document that says Exhibit 1 on the
 4      first page, and the second page is a purported wire
 5      transfer from the FedPayments manager with a create
 6      time of October 1, 2018, and the --
 7             A.   Yes, I got it in front of me.
 8             Q.   The information on the bottom says,
 9      "October 2018 payment"?
10             A.   Yes.
11             Q.   Mr. Clegg, do you recognize any of the
12      information in here?
13             A.   None whatsoever.
14                  And if I can say for the record, the idea
15      that in the midst of all of this extraordinary
16      fabrication, that
17           , would have been listed as the particular head
18      of a trust for a bank account in the Philippines, I
19      mean, it's so preposterous, I don't really know
20      where to start.       And, no, I don't recognize any of
21      this.
22             Q.   Do you or any member of your family have
23      an offshore trust account?
24             A.   No.
25             Q.   Do you or anyone in your family have any

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 1      accounts in the Philippines?
 2             A.   No.
 3             Q.   Exhibit 50 will be the other wire
 4      transfer, Exhibit 8.
 5                  (Thereupon, the referred-to document was
 6      marked for Identification as Plaintiff's
 7      Exhibit 50.)
 8      BY MR. AZAR:
 9      BY MR. AZAR:
10             Q.   I'm showing you a two-page document.
11             A.   Can I ask a clarifying question?
12                  So the exhibit you showed me earlier would
13      have been -- purports to be for a payment that was
14      made in the, what, four or five working days that I
15      was at Meta, having started I think on the 22nd of
16      October.    I only ask just to reinforce the point
17      that it has to be fictional.           It would be
18      inconceivable I can receive payment
19                                in the Philippines within three
20      or four working days of arriving at Facebook.
21             Q.   I appreciate that clarification or that
22      point of emphasis.
23                  You have to understand, in this situation
24      it's for me to ask questions.
25             A.   Yes, yes.

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 1             Q.   But I understand your point.             Thank you
 2      for mentioning that.
 3                  MR. LIBBARES:      I have a quick question off
 4             the record.
 5                  MR. ALLEN:     Let's take a break.
 6                  (Short discussion off the record.)
 7      BY MR. AZAR:
 8             Q.   We're back on the record.
 9                  Mr. Clegg, anything occur to you that you
10      have to clarify or amplify with your prior testimony
11      or can we go to the next exhibit?
12             A.   We can go to the next exhibit.                Thanks.
13             Q.   Okay, we're Exhibit 50 then, a two-page
14      document.    The first page says, "Exhibit 8."                The
15      second page is a printout of a purported FedPayments
16      Manager Funds wire transfer record dated -- create
17      time of October 1, 2018.         And in the text
18      information, it says, "October 2018 rev final."
19                  Do you have that in front of you?
20             A.   Yes, I do now, yes.
21             Q.   Okay.     Do you recognize any of the
22      information in this document?
23             A.   Not a single word or number in this is
24      recognizable to me or conceivable.
25             Q.   Okay.     And did you already say that, to

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                                ATTORNEYS EYES ONLY

                                                                          Page 1

 1                     UNITED STATED DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
 2
 3                   CASE NO. 3:22-CV-01101-WHA
 4      DAWN DANGAARD, a/k/a ALANA
        EVANS, ASHLEY NICOLE MILLER,
 5      a/k/a NICOLE ANISTON, KELLY
        GILBERT, a/k/a KELLY PIERCE,
 6      JENNIFER ALLBAUGH, a/k/a RUBY,
        and LAURA ALLEN, a/k/a AMBER
 7      LYNN on behalf of themselves and all
        others similarly situated,
 8                     Plaintiffs,
 9      V.
10
        FENIX INTERNET LLC, FENIX
11      INTERNATIONAL INC., META
        PLATFORMS, INC., INSTAGRAM,
12      LLC, FACEBOOK OPERATIONS, LLC,
        LEONID RADVINSKY, and JOHN
13      DOES 1-10,
                       Defendants.
14      _____________________________________
15
16                               Remote Proceedings
                                 May 25, 2023
17                               8:13 a.m. - 12:47 p.m.
18                 DEPOSITION OF NICOLA MENDELSOHN
19        *** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY ***
20          Taken before SUZANNE VITALE, R.P.R., F.P.R.
21       and Notary Public for the State of Florida at
22      Large, pursuant to Notice of Taking Deposition filed
23      in the above cause.
24
25

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 1             Q.   Do you have any information, first or
 2      secondhand, about people at Facebook or Meta
 3      receiving payments in order to protect people from
 4      content actioning?
 5             A.   No, Counsel, I'm not aware of that and it
 6      would go against the company guidelines and rules.
 7             Q.   Are you aware, have you heard that
 8      Meta/Facebook has a group dedicated to trying to
 9      find people who take money in order to affect
10      content actioning?
11             A.   Counsel, I'm not aware of a specific group
12      as such.    But I would imagine that we do have --
13      well, I know that we have our own internal audit
14      like any large company that would always be on the
15      lookout for anything that was improper or goes
16      against our company rules and guidelines.
17             Q.   Have you heard anything about how -- have
18      you heard anything about any situation in which
19      Meta/Facebook has found people who have accepted
20      money in return for affecting the content actioning?
21             A.   No, Counsel, I'm not aware of any such
22      incidents.
23             Q.   And you're not aware of it firsthand or
24      secondhand in any respect, correct?
25             A.   That is correct, Counsel.

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 1      when you're ready to answer a question about it.
 2             A.   I'm ready, Counsel.
 3             Q.   Do you recognize any of the information in
 4      this document prior to just looking at it from --
 5      any -- let me start that again.
 6                  Prior to your counsel showing you this, do
 7      you recognize any of the information in this
 8      document?
 9             A.   No, Counsel, I do not.
10             Q.   If you look at the beneficiary name, it
11      says "Nicola Mendelsohn Trust."
12                  Do you see that?
13             A.   Yes, Counsel, I do.
14             Q.   Are you familiar with any trust by that
15      name?
16             A.   No, Counsel, I am not.
17             Q.   And when I say this, I mean not just if
18      you direct it but if -- are you familiar with
19      foreign trusts at all, how they work?
20             A.   No, Counsel, I am not.
21             Q.   Do you have any foreign trusts?
22             A.   No, Counsel, I do not.
23             Q.   Do you know if any of your family members
24      have foreign trusts?
25                  MR. ANDERSON:      Object to form.

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 1      than an employment relationship, is that what you're
 2      referring to?
 3                  MR. ANDERSON:       Object to form.
 4                  THE WITNESS:       Counsel, please share that
 5             again.
 6      BY MR. AZAR:
 7             Q.   Sure.     When you're saying that the 5,000
 8      is ludicrous, that it's not the kind of person you
 9      are, am I correct to infer that you're saying that
10      it would be ludicrous to accept money from someone
11      outside of your employment?            Is that kind of what
12      you were pointing to, or were you referring to the
13      dollar amount or something else?
14             A.   The nature of accepting money as a payment
15      outside work that I do, yes.
16             Q.   Okay.     Great.
17                  When you look at this document, if it's
18      not an accurate document, you're saying this is
19      not -- this information is not accurate or at least
20      if it's a Nicola Mendelsohn Trust, you have nothing
21      to do with that trust, correct?
22                  MR. ANDERSON:       Object to form.
23                  THE WITNESS:       That is correct.
24      BY MR. AZAR:
25             Q.   Do you know of anyone that you can think

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                                                                         Page 50

 1             A.   Counsel, I don't want to confuse what I
 2      might have seen in -- this week versus what I saw
 3      when I wrote this at this time.
 4             Q.   Okay.     Have you had any communications
 5      whatsoever with anyone affiliated with OnlyFans?
 6             A.   No, Counsel, I have not.
 7             Q.   And I'm speaking broadly.                I'm speaking,
 8      you know, from any time period initially?
 9             A.   No, Counsel, to the best of my knowledge,
10      I have not had any communication with anybody from
11      OnlyFans.
12             Q.   Okay.     And I'm going to ask again some
13      specifics.
14                  To your knowledge, have you had any
15      communication with anyone from a company called
16      Fenix International?
17             A.   No, Counsel, I have not.
18             Q.   Have you had any communications with
19      anyone from a company called Fenix Internet?
20             A.   No, counsel, I have not.
21             Q.   Have you had any communications with Leo
22      Radvinsky, R-A-D-V-I-N-S-K-Y?
23             A.   No, Counsel, I have not.
24             Q.   Have you had any communications with
25      anyone associated with MyFreeCams.com?

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 1             A.   No, Counsel, I am not familiar with any of
 2      the details on this document.
 3             Q.   And is any of the information on this
 4      document, to your knowledge, accurate?
 5             A.   No, Counsel, none of the information here
 6      is accurate, nor have I ever even been to the
 7      Philippines.
 8             Q.   Understand.
 9                  But this doesn't say you were in the
10      Philippines.     This just talks about a bank account
11      or a trust account linked to the Philippines.
12                  I see you're referring generally to your
13      same testimony as before is that you're not familiar
14      with anything called a Nicola Mendelsohn Trust.
15      You're not familiar with any bank in the Philippines
16      and had no interaction with them.
17                  Is that what you were getting at?
18             A.   Yes, Counsel.
19                  MR. AZAR:     Let's, Ryan, go to exhibit
20             number 5 in your file.          This would be Exhibit
21             Number 31 which identifies Exhibit 5 to the
22             subpoena to the Federal Reserve Bank of New
23             York.
24                  (Thereupon, the referred-to document was
25      marked for Identification as Exhibit Number 31.)

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 1                  MR. ANDERSON:      Object to form.
 2                  THE WITNESS:      Counsel, this is too long a
 3             document for me to hold all of that in my head,
 4             so I couldn't give you an answer at a high
 5             level.
 6      BY MR. AZAR:
 7             Q.   Okay.     That's fine.       So we'll go through
 8      this in more detail.
 9                  So I'd like to go through -- let me ask
10      you this.    Before we go through this, what was your
11      impression, if you recall, after reading this, your
12      personal impression when you read this, how did you
13      react to it?     What did you think about it?
14             A.   Counsel, my personal impression was that
15      the overall take was ludicrous.
16             Q.   And which part of it was ludicrous?                Are




21             A.   Counsel, all of it.          All of the things
22      that you've just stated I found to be ludicrous.
23             Q.   Ludicrous because it's impossible that it
24      happened or ludicrous for a different reason?
25             A.   Ludicrous because the different

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 1      allegations that I can recall seem so implausible
 2      that -- as I said, the use of my word was I could
 3      never have imagined such a thing having taken place.
 4             Q.   And which part seems so implausible?
 5      Implausible that -- I mean, are you saying that it's
 6      completely implausible that someone internally at
 7      Facebook or Meta decided to help a company by adding
 8      their competitors to the DL list, putting aside who
 9      it was, just as a concept goes.             Is that completely
10      implausible in your mind, that someone could
11      accomplish a market shift by finding a way to
12      wrongly include certain organizations on the DL
13      list?
14                  MR. ANDERSON:      Object to form.
15                  THE WITNESS:      Yes, Counsel, I believe that
16             would be implausible given the amount of checks
17             and balances the company has in place across
18             the board, even though I'm not an expert on how
19             such a list is created in the first place.
20      BY MR. AZAR:
21             Q.   Can you describe the checks and balances
22      that you're referring to that would make it
23      implausible?
24             A.   Counsel, I'm not an expert but the company
25      seeks to have lots of checks and balances across the

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 1      just want to be precise here.
 2                  Do you have any knowledge, first or
 3      secondhand, of any allegations that there was an
 4      abuse of the designation lists on the shared hash
 5      database other than from this lawsuit?
 6             A.   No, Counsel, I do not.
 7             Q.   You have no knowledge and you have not
 8      heard of any such allegation or a discussion
 9      internally at Meta about it other than through this
10      lawsuit, correct?
11             A.   That is correct, Counsel.




25             A.   No, Counsel, I'm not aware.

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 1             A.   Counsel, that is correct.                I did work
 2      during the period but I didn't travel and I was very
 3      rarely in the London office.
 4             Q.   Understood.
 5                  MR. AZAR:     Ryan, go back up to the top, to
 6             the first page there.
 7      BY MR. AZAR:




17      BY MR. AZAR:
18             Q.   Let me ask you this.          Assume for a moment
19      that Meta became aware of someone who had authority
20      and access to the content action and content
21      moderation work, and was taking money from people to
22      influence content actioning and Meta knew about it,
23      Meta entered into an NDA with this person and the
24      person left the company.
25                  So just assume for a minute that this

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 1      actually happened, okay, that there's somebody who
 2      had the right access, who took money, Meta found out
 3      about it, had the person sign an NDA, et cetera.
 4                  So if you assume that that fact exists,
 5      that there at least is one person, okay, who has
 6      done such a thing who had that kind of access, does
 7      that change any of your testimony about the
 8      plausibility of this -- putting aside of -- putting
 9      aside who was involved with it, but just the
10      plausibility of it.
11                  If you assume that that has happened and
12      Meta is aware of it, how does that affect your
13      testimony, if at all?
14                  MR. ANDERSON:      Object to form.
15                  MR. STERNBERG:       Object to form.
16                  THE WITNESS:      Counsel, you're asking me to
17             play hypotheticals with something that I hold
18             so deeply true in terms of how I think the
19             company would behave in an example like this,
20             whereby the person or persons, if it came to
21             the company's attention, would be fired.
22      BY MR. AZAR:
23             Q.   So if it turns out that the person was not
24      fired but instead was given money and signed an NDA,
25      and then went to work for a different social media

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 1      there.
 2                  Before I begin, just like last time, Lady
 3      Mendelsohn, is there anything else you want to add
 4      or clarify from prior testimony?
 5             A.   No.
 6             Q.   So I think you, essentially, said when
 7      answering the question I'm about to ask, but I
 8      didn't ask it exactly this way so let me just make
 9      sure I have a clear understanding.
10                  Do you know whether anyone in the London
11      office or even at Facebook, generally, has ever been
12      fired for accepting a bribe, direct or indirectly,
13      to help a content creator as to their Instagram
14      page?
15                  MR. STERNBERG:       Object to form.
16                  THE WITNESS:      Counsel, I'm not aware of
17             such a person or event happening.
18      BY MR. AZAR:
19             Q.   When is the first time you learned of the
20      allegations of your involvement in this alleged
21      scheme that's reflected in the whistleblower report
22      we just looked at or the transcript or our case?
23             A.   Counsel, I believe it was around summer
24      '22.
25             Q.   So that's sort of well after we filed our

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            EXHIBIT 3
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                                                                          Page 1

 1                    UNITED STATED DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
 2
 3                   CASE NO. 3:22-CV-01101-WHA
 4      DAWN DANGAARD, a/k/a ALANA
        EVANS, ASHLEY NICOLE MILLER,
 5      a/k/a NICOLE ANISTON, KELLY
        GILBERT, a/k/a KELLY PIERCE,
 6      JENNIFER ALLBAUGH, a/k/a RUBY,
        and LAURA ALLEN, a/k/a AMBER
 7      LYNN on behalf of themselves and all
        others similarly situated,
 8                     Plaintiffs,
 9      V.
10
        FENIX INTERNET LLC, FENIX
11      INTERNATIONAL INC., META
        PLATFORMS, INC., INSTAGRAM,
12      LLC, FACEBOOK OPERATIONS, LLC,
        LEONID RADVINSKY, and JOHN
13      DOES 1-10,
                       Defendants.
14      _____________________________________
15
16                                 Remote Proceedings
                                   May 30, 2023
17                                 8:04 a.m. - 9:26 a.m.
18                   DEPOSITION OF CRISTIAN PERRELLA
19
20          Taken before SUZANNE VITALE, R.P.R., F.P.R.
21      and Notary Public for the State of Florida at Large,
22      pursuant to Notice of Taking Deposition filed in the
23      above cause.
24
25

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                                                                         Page 25

 1             Q.   Understood.
 2                  Do you know whether or not Lady Mendelsohn
 3      was somehow in charge of the London office on a --
 4             A.   She was in charge of the London office,
 5      yes.    She was in charge of the EMEA sales
 6      operations.
 7             Q.   Other than being in charge of the EMEA
 8      sales operations, was there anyone in the London
 9      office who was kind of in charge more generally
10      about all operations in the EMEA in London?
11             A.   No, I don't think so.           I think anyone in
12      charge of ops at the time was based in Dublin for
13      EMEA, but I'm not 100 percent sure about this to be
14      honest.
15             Q.   Can you hear me?        You muted for a moment.
16      I'm not sure if everyone heard the answer.
17             A.   You want me to repeat?
18                  MR. ALLEN:     He answered.          I'd rather the
19             court reporter read back the answer, David, if
20             you didn't hear it.
21                  MR. AZAR:     That's fine.
22                  (Last question and answer read back.)
23      BY MR. AZAR:
24             Q.   Have you ever heard, Cristian, anyone
25      referring to -- anyone taking money to affect

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 1      someone's content moderation?
 2             A.   Never.
 3             Q.   Have you ever heard of anyone taking money
 4      to affect the moderation of an organization?
 5             A.   No, never heard anything like that, sir.
 6             Q.   Have you ever heard of anyone taking money
 7      to whitelist an organization?
 8             A.   Same, never heard of anything like that,
 9      sir.
10             Q.   What about whitelisting an individual?
11             A.   Same.     This will be serious violation.
12             Q.   Do you know what whitelisting means?
13             A.   Yes, I do.
14             Q.   What is whitelisting?
15             A.   We actually don't use the term
16      whitelisting.     We use the term "allow listing"
17      because whitelisting has a racial connotation and we
18      decide not to use any terms that might have a racial
19      connotation.
20                  And same goes with black listing.               We
21      rather use block listing.
22                  So allow list means a list that is
23      designed to bypass a specific rule in general.                   So
24      I'm not sure in what context you ask me what
25      whitelist means.       But, generally speaking, allow

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 1      definitely not in my area of responsibility.
 2             Q.   Do you recall ever discussing with anyone
 3      at Meta activity of any adult platform on Instagram?
 4             A.   Well, adult content is not allowed on
 5      Instagram so we hardly discuss things that are not
 6      allowed on Instagram.       The answer is no.
 7             Q.   Are you aware of whether or not adult
 8      performers advertise on Instagram for people to go
 9      to their page sites?
10             A.   I am not aware.        If they do so, they must
11      abide to our content policies, otherwise they will
12      be disabled for violating our terms of content.
13             Q.   Are you aware of whether or not adult
14      platforms also have a presence on Instagram as part
15      of their business?
16             A.   I don't know.
17             Q.   And by the way, when I say adult
18      platforms, since you read the complaint, am I
19      correct that you have an understanding of what I'm
20      referring to?
21             A.   It's either Facebook or Instagram.
22             Q.   Well, okay, Facebook or Instagram are the
23      platforms of Meta.       But when I say adult platforms,
24      I'm referring to primarily sites where adult
25      performers can charge customers to view content.

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 1             A.   No.
 2             Q.   Give me a moment.          I'm going to jump past
 3      a bunch of questions here.
 4                  Now, you know that -- have you seen
 5      examples of wire transfer records that purport to
 6      send money to an account in the Philippines to a
 7      Cristian Peralta Trust?
 8             A.   Yes, I think I did.
 9             Q.   Do you have any foreign trusts?
10             A.   I don't.     Never had.
11             Q.   Do you know if anyone in your family has
12      foreign trusts?
13             A.   No one in my family has any foreign
14      trusts.
15             Q.   Have you ever visited the Philippines Bank
16      of Commerce, PBCOM Bank?
17             A.   I never visited the Philippines bank you
18      mentioned nor have I ever visited the Philippines.
19             Q.   Do you know -- have you ever had any
20      communications whatsoever with that bank in the
21      Philippines or any bank in the Philippines?
22             A.   Never had any communication with any bank
23      in the Philippines in my life.
24             Q.   Have you ever had any communications with
25      any entity in Hong Kong that acts as a facilitator?

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 1                  MR. ACOSTA:     Yes, sir.         38, 39 and 40?
 2                  MR. AZAR:     Yes, thank you.
 3                  MR. ACOSTA:     Just one moment.
 4                  (Thereupon, the referred-to document was
 5      marked for Identification as Exhibit 38.)
 6                  (Thereupon, the referred-to document was
 7      marked for Identification as Exhibit 39.)
 8                  (Thereupon, the referred-to document was
 9      marked for Identification as Exhibit 40.)
10      BY MR. AZAR:
11             Q.   So I'm showing you a two-page document.
12      The first page says Exhibit 4 because I'm using the
13      same exhibit numbers that were given to some banks,
14      so I'm keeping the cross reference, okay.
15                  So the first page says Exhibit 4.               The
16      second page is a printout -- purported from the
17      FedPayments manager.       It has a create time of
18      12/1/2018.
19                  Dan, if you scroll down a little bit,
20      you'll see that the beneficiary name is the Cristian
21      Peralta Trust.
22                  Cristian, have you seen this document
23      before?
24             A.   I think I saw this document during our
25      prep session.

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 1             Q.   Okay.     Do you recognize any of the
 2      information in this document as being accurate?
 3             A.   Accurate compared to what, to the document
 4      that I've previously seen?
 5             Q.   No, I'm sorry.       Like in terms of the truth
 6      of it.
 7                  Is any of the information in here familiar
 8      to you?
 9             A.   No, that's not even my name on it so I
10      have no idea what this is.
11             Q.   So in terms of the name of the trust,
12      right, your name is Perrella, P-E-R-R-E-L-L-A; is
13      that correct?
14             A.   Yes, that's correct.
15             Q.   And this is Peralta, P-E-R-A-L-T-A,
16      correct?
17             A.   That's what it looks like on this
18      document.
19             Q.   Do you recall anyone at Meta
20      mispronouncing your name and sometimes called you
21      Peralta any chance?
22             A.   My name gets misspelled quite regularly
23      but it's very different misspelling.
24             Q.   I understand.      I'm just wondering, does
25      that resonate with you?        Is there anybody you can

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            EXHIBIT 4
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 1     JASSY VICK CAROLAN LLP
       Duffy Carolan, State Bar No. 154988
 2     601 Montgomery Street, Suite 850
       San Francisco, CA 94111
 3     Tel: 415-539-3399
       Fax: 415-539-3394
 4     Email: dcarolan@jassyvick.com
 5     Meghan Fenzel
       355 South Grand Avenue, Suite 2450
 6     Los Angeles, CA 90071
       Tel: 310-870-7048
 7     Fax: 310-870-7010
 8     Attorneys for Non-Party Media Entity Advance
       Magazine Publishers Inc.
 9
10
11                                   UNITED STATES DISTRICT COURT
12                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
14     DAWN DANGAARD, et al.,                           Case No. 3:22-cv-01101-WHA
15                            PlaintiffS,               OBJECTIONS OF NON-PARTY MEDIA
                                                        ENTITY ADVANCE MAGAZINE
16            vs.                                       PUBLISHERS INC. TO PLAINTIFFS’
                                                        SUBPOENA TO TESTIFY AT A DEPOSITION
17     INSTAGRAM, LLC, et al.,                          IN A CIVIL CASE
18                            Defendant.
19
20        TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
21            Non-party Advance Magazine Publishers Inc. (“Advance”), improperly served herein as
22     Condé Nast, respectfully submits the following objections and responses to the Subpoena to Testify
23     at a Deposition in a Civil Action (the “Subpoena”) served on April 5, 2023, by Plaintiffs Dawn
24     Dangaard, et al. (“Plaintiffs” or “Subpoenaing Party”) in civil matter Dawn Dangaard, et al. v.
25     Instagram, LLC, et al., Case No. 3:22-cv-01101-WHA (the “Action”):
26
27
28

       NON-PARTY ADVANCE MAGAZINE PUBLISHERS INC.’S
       OBJECTIONS TO DEPOSITION SUBPOENA
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 1                                GENERAL OBJECTIONS TO SUBPOENA

 2            Without waiving any rights to later raise other objections or to bring or oppose any motions
 3     or other procedures related to the Subpoena, Advance objects to the Subpoena in its entirety on the

 4     following grounds:

 5            1.      Advance objects to the Subpoena, which does not set a deposition location, to the

 6     extent it commands a person to attend a deposition, or commands the production of documents or

 7     materials, at a place more than 100 miles from where the person resides, is employed, or regularly

 8     transacts business in person. F.R.C.P. 45(c)(1)(A) & (c)(2)(A).

 9            2.      Advance objects to the Subpoena as it names, is directed to and was served on Condé

10     Nast, which is a dba of Advance not a separate organization. Condé Nast, like WIRED, are brands

11     operating under the corporate umbrella of Advance. Thus, service on Condé Nast is improper.

12     F.R.C.P. 45 (b)(1).

13            3.      Advance objects to the Subpoena to the extent it seeks documents and/or testimony

14     that go beyond the scope of the limited jurisdictional discovery authorized by the Court on March

15     29, 2023.

16            4.      Advance, a non-party media entity that – through its journalists at Advance’s brand

17     WIRED – gathered information for dissemination to the public, objects to the Subpoena as seeking

18     materials and testimony calling for the disclosure of confidential source information and non-

19     confidential, unpublished information protected from compelled disclosure under the First

20     Amendment qualified reporter’s privilege and/or the reporter’s privilege recognized under the

21     common law pursuant to Federal Rule of Evidence 501. See United States v. Burke, 700 F.2d 70,

22     76-77 (2d Cir.) cert. denied, 464 U.S. 816 (1983) (recognizing qualified privilege for confidential

23     materials); Gonzales v. National Broadcasting Co., 194 F.3d 29 (2d Cir. 1999) (recognizing

24     qualified privilege for non-confidential materials); Shoen v. Shoen (“Shoen I”), 5 F.3d 1289, 1292-

25     1295 (9th Cir. 1993) (recognizing qualified privilege that applies to confidential and non-

26     confidential information); Shoen v. Shoen, 48 F.3d 412, 418 (9th Cir. 1995) (“Shoen II”). (holding

27     that to overcome the journalist's privilege, a party seeking non-confidential discovery must show

28     that the material is “(1) unavailable despite exhaustion of all reasonable alternative sources; (2)

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 1     noncumulative; and (3) clearly relevant to an important issue in the case.”); Planet AID, Inc., et al..

 2     v. Reveal, Center for Investigative Reporting, 2019 WL 935131, *1 (Feb. 26, 2019) (recognizing

 3     qualified reporter’s privilege for non-confidential materials sought from defendant/journalist and

 4     ordering an in camera review to determine whether information sought was clearly relevant to an

 5     important issue in the case). The protections for journalists’ confidential and non-confidential

 6     source materials referenced in this paragraph are collectively referred to herein as the “Reporter’s

 7     Privilege.”

 8            5.      Advance further objects to the Subpoena as seeking materials and testimony

 9     protected from compelled disclosure under state law, including but not limited to Article I, Section

10     8 of the New York Constitution, the New York Civil Rights Law Section 79-h, Article I, Section

11     2(b) of the California Constitution, the California Evidence Code Section 1070, and related case

12     law. See Baker v. Goldman Sachs & Co., 669 F.3d 105, 107 (2d Cir. 2012) (“New York's Shield

13     Law provides journalists an absolute privilege from testifying with regard to news obtained under a

14     promise of confidentiality but only a qualified privilege with regard to news that is both

15     unpublished and not obtained under a promise of confidentiality.”) ; O’Neill v. Oakgrove Constr.,

16     Inc., 71 N.Y.2d 521, 523 N.E.2d 277 (1988); Flynn v. NYP Holdings, Inc., 235 A.D.2d 907, 652

17     N.Y.S.2d 833 (3d Dep’t 1997); Los Angeles Memorial Coliseum Comm’n v. National Football

18     League, 89 F.R.D. 489, 492 (C.D. Cal. 1981); New York Times Co. v. Superior Court, 51 Cal. 3d

19     453, 456, 461, 462 (1990) (California reporter’s shield law provides “on its face an absolute

20     immunity,” and a civil litigant has no federal or state constitutional rights which are sufficient to

21     overcome journalists’ rights under the shield law even upon a purported “showing of need for

22     unpublished information”) (emphasis added; internal quotation marks omitted); McGarry v. Univ. of

23     San Diego, 154 Cal. App. 4th 97, 119-120 (2007) (“the Shield Law confers an absolute immunity

24     against compelled disclosure of the protected information and, although that immunity must

25     occasionally yield when it threatens to frustrate the competing federal constitutional right of a

26     criminal defendant to a fair trial, there is no analogous competing right of a civil litigant that will

27     suffice to overcome the immunity”). The protections for journalists’ confidential and non-

28

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 1     confidential source materials referenced in this paragraph are collectively referred to herein as the

 2     “State Shield Law.”

 3            6.      Advance also objects to the Subpoena to the extent it seeks materials or testimony

 4     outside of Advance’s possession, custody, or control, or that are not known or reasonably available

 5     to it, including but not limited to any information sought, gathered or obtained by any Advance

 6     journalist while employed by any other news entity or organization.

 7            7.      Advance further objects to the Subpoena to the extent it purports to impose any duty

 8     upon Advance that is inconsistent with, or beyond that required by the Federal Rules of Civil

 9     Procedure, any applicable orders or rules of the Court, or other applicable law or rules.

10            8.      Advance objects to the Subpoena to the extent it requires the disclosure of

11     information or documents, if any, prepared in anticipation of litigation or subject to a claim of

12     privilege or protection, including, without limitation, the attorney-client privilege, the attorney work

13     product doctrine, or recognized privacy, confidentiality, proprietary and/or trade secret interests.

14            9.      Advance objects to the Subpoena to the extent it requires Advance to disclose

15     information and/or documents that are neither relevant to the claims or defenses of any party nor

16     proportional to the needs of the case.

17            10.     Advance objects to the Subpoena on the grounds that it imposes unreasonable and

18     undue burdens that outweigh any potential relevance of the information sought.

19            11.     Advance further objects to the Subpoena to the extent that it seeks material or

20     information that can be obtained through other means of discovery that are more convenient, less

21     burdensome, or less expensive.

22            12.     Advance further objects to the Subpoena to the extent that it seeks material or

23     information that is publicly available, accessible from parties to the action and/or already in one or

24     more of the parties to the action’s possession, custody, or control.

25            13.     Advance objects to the “Definitions” and “Instructions” attached to the Subpoena as

26     vague, ambiguous, overbroad and unduly burdensome.

27            14.     Notwithstanding the specificity of Advance Responses set forth below, it expressly

28     incorporates these General Objections by reference as though fully set forth into the Responses.

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 1     Thus, if any objection contained above is not restated under the specific Response to an individual

 2     Documents Request or Matter on which Examination is Requested, this should not be construed as a

 3     waiver of any such objections.

 4            15.     Advance reserves the right to ask the Court to order the Subpoenaing Party to pay all

 5     expenses associated with responding to the Subpoena or any portion thereof. See Fed. R. Civ. P.

 6     45(d)(2)(B)(ii).

 7                                RESPONSES TO DOCUMENT REQUESTS

 8            Subject to and without waiving the General Objections to Subpoena set forth above,

 9     Advance responds and objects to the individual Document Requests as follows:

10     REQUEST FOR PRODUCTION NO. 1:

11            All documents related to the identities of anybody proving information to Wired about the

12     Case Study, the March 23, 2023 Email, the Whistleblower Report, the Gizmodo Article, or the

13     SAC. Please interpret the term "identities" broadly so that it is not limited to a person's name, but

14     applies more broadly to information about whether/ why they were believed to be credible or

15     providing genuine documents or information, including without limitation whether anyone

16     providing information was in a position to know the information, or have genuine documents, such

17     as being a former employee of Facebook, Instagram, or Meta.

18     RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

19            Advance incorporates by reference, as if fully set forth herein, the General Objections set

20     forth above. Advance objects to this Request as calling for source material protected from

21     disclosure by the Reporter’s Privilege. Advance objects to this Request as calling for source

22     material protected from disclosure under the State Shield Law. Advance further objects to this

23     Request to the extent that it calls for material protected from disclosure by the attorney-client

24     privilege, the attorney work product doctrine, and any other applicable privilege or doctrine.

25     Advance objects to this Request as calling for the disclosure of confidential, sensitive, proprietary

26     and/or private information and/or trade secrets. Advance objects to this Request to the extent it calls

27     for materials comprising Advance’s journalistic/expert opinion or information that does not describe

28     specific occurrences in dispute and results from Advance’s study that was not requested by a party

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 1     in violation of F.R.C.P. 45(d)(3)(ii). Advance objects to this Request as vague, ambiguous,

 2     compound, overbroad and unduly burdensome, including but not limited to that part of the request

 3     asking Advance to interpret the term “identities” broadly so as to include documents or information

 4     as to whether/why it believes information to be credible or genuine, and the general and broad

 5     reference to the SAC, which was not attached to the Subpoena and the exhibits to which are not part

 6     of any one inclusive docket entry accessible via PACER. Advance also objects to this Request to

 7     the extent that it calls for material that is publicly available and/or equally accessible to the

 8     Subpoenaing Party. Advance objects to this Request to the extent that it calls for material not in

 9     Advance’s possession, custody or control, including but not limited to any materials or information

10     obtained by Advance journalists while employed by any other news organization or entity.

11     Advance objects to this Request to the extent that it calls for material that is not relevant and/or not

12     reasonably calculated to lead to the discovery of admissible evidence. Advance objects to this

13     Request on the grounds that the burden associated with searching for and producing potentially

14     responsive materials, if any, is not proportionate to the relevance, if any, of the requested material.

15     REQUEST FOR PRODUCTION NO. 2:

16             All documents relating to bribery of any kind (i.e., money or favor or something else of

17     value given or promised in order to influence someone's judgment or conduct) related to the matters

18     referenced in the Case Study, the March 23, 2023 Email, the Whistleblower Report, the Gizmodo

19     Article, or the SAC.

20     RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

21             Advance incorporates by reference, as if fully set forth herein, the General Objections set

22     forth above. Advance objects to this Request to the extent it calls for source material protected

23     from disclosure by the Reporter’s Privilege. Advance objects to this Request to the extent it calls

24     for source material protected from disclosure under the State Shield Law. Advance further objects

25     to this Request to the extent that it calls for material protected from disclosure by the attorney-client

26     privilege, the attorney work product doctrine, and any other applicable privilege or doctrine.

27     Advance objects to this Request to the extent it calls for the disclosure of confidential, sensitive,

28     proprietary and/or private information and/or trade secrets. Advance objects to this Request as

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 1     vague, ambiguous, compound, overbroad and unduly burdensome, including but not limited to the

 2     general and broad reference to the SAC, which was not attached to the Subpoena and the exhibits to

 3     which are not part of any one inclusive docket entry accessible via PACER. Advance also objects

 4     to this Request to the extent that it calls for material that is publicly available and/or equally

 5     accessible to the Subpoenaing Party. Advance objects to this Request to the extent that it calls for

 6     material not in Advance’s possession, custody or control, including but not limited to any materials

 7     or information obtained by Advance journalists while employed by any other news organization or

 8     entity. Advance objects to this Request to the extent that it calls for material that is not relevant

 9     and/or not reasonably calculated to lead to the discovery of admissible evidence. Advance objects

10     to this Request on the grounds that the burden associated with searching for and producing

11     potentially responsive materials, if any, is not proportionate to the relevance, if any, of the requested

12     material. Notwithstanding the above objections, and subject to them, Advance has conducted a

13     reasonable search and diligent inquiry for responsive materials within its possession, custody or

14     control and has been unable to locate any responsive documents, nor does it believe any such

15     responsive documents were once in its possession custody or control but have since been lost,

16     discarded or destroyed. Its search is ongoing and its response hereto is subject to amendment.

17     REQUEST FOR PRODUCTION NO. 3:

18             All documents relating to the matters described in the Case Study, the March 23, 2023

19     Email, the Whistleblower Report, the Gizmodo Article, or the SAC, including without limitation

20     any documents that support the verification of any information in lieu of disclosure of the identity

21     of a source, and your communications with any Defendant about it.

22     RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

23             Advance incorporates by reference, as if fully set forth herein, the General Objections set

24     forth above. Advance objects to this Request as calling for source material protected from

25     disclosure by the Reporter’s Privilege. Advance objects to this Request as calling for source

26     material protected from disclosure under the State Shield Law. Advance further objects to this

27     Request to the extent that it calls for material protected from disclosure by the attorney-client

28     privilege, the attorney work product doctrine, and any other applicable privilege or doctrine.

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 1     Advance objects to this Request as calling for the disclosure of confidential, sensitive, proprietary

 2     and/or private information and/or trade secrets. Advance objects to this Request to the extent it calls

 3     for materials comprising Advance’s journalistic/expert opinion or information that does not describe

 4     specific occurrences in dispute and results from Advance’s study that was not requested by a party

 5     in violation of F.R.C.P. 45(d)(3)(ii). Advance objects to this Request as vague, ambiguous,

 6     compound, overbroad and unduly burdensome, including but not limited to that part asking for “any

 7     document that support the verification of any information in lieu of disclosure of the identity of a

 8     source,” and the general and broad reference to the SAC, which was not attached to the Subpoena

 9     and the exhibits to which are not part of any one inclusive docket entry accessible via PACER.

10     Advance also objects to this Request to the extent that it calls for material that is publicly available

11     and/or equally accessible to the Subpoenaing Party. Advance objects to this Request to the extent

12     that it calls for material not in Advance’s possession, custody or control, including but not limited to

13     any materials or information obtained by Advance journalists while employed by any other news

14     organization or entity. Advance objects to this Request to the extent that it calls for material that is

15     not relevant and/or not reasonably calculated to lead to the discovery of admissible evidence.

16     Advance objects to this Request on the grounds that the burden associated with searching for and

17     producing potentially responsive materials, if any, is not proportionate to the relevance, if any, of

18     the requested material.

19                       MATTERS ON WHICH EXAMINATION IS REQUESTED

20            Subject to and without waiving the General Objections to Subpoena set forth above,

21     Advance responds and objects to the individual Matters on which Examination is Requested as

22     follows:

23     MATTER NO. 1:

24            The identities of anybody providing information to Wired about the Case Study, the March

25     23, 2023 Email, the Whistleblower Report, the Gizmodo Report, or, to the extent that Wired has

26     such information, the SAC. Please interpret the term "identities" broadly so that it is not limited to a

27     person's name, but applies more broadly to information about whether/ why they were believed to

28     be credible or providing genuine documents or information, including without limitation whether

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 1     anyone providing information was in a position to know the information, or have genuine

 2     documents, such as being a former employee of Facebook, lnstagram, or Meta.

 3     RESPONSE TO MATTER NO.1:

 4            Advance incorporates by reference, as if fully set forth herein, the General Objections set

 5     forth above. Advance objects to this Examination Matter as calling for testimony on matters

 6     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

 7     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

 8     further objects to this Examination Matter to the extent that it calls for testimony on matters

 9     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

10     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

11     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

12     secrets. Advance objects to this Examination Matter to the extent it calls for testimony on matters

13     comprising Advance’s journalistic/expert opinion or information that does not describe specific

14     occurrences in dispute and results from Advance’s study that was not requested by a party in

15     violation of F.R.C.P. 45(d)(3)(ii). Advance objects to this Examination Matter as vague,

16     ambiguous, compound, overbroad and unduly burdensome, including but not limited to that part

17     asking Advance to interpret the term “identities” broadly so as to include information as to

18     whether/why sources were believed to be credible or genuine or were providing genuine documents

19     or information, and the general and broad reference to the SAC, which was not attached to the

20     Subpoena and the exhibits to which are not part of any one inclusive docket entry accessible via

21     PACER. Advance also objects to this Examination Matter to the extent that it calls for testimony on

22     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

23     objects to this Examination Matter to the extent that it calls for testimony about matters not in

24     Advance’s possession, custody or control, or known or reasonably available to it, including but not

25     limited to any information or materials obtained by Advance journalists while employed by any

26     other news organization or entity. Advance objects to this Examination Matter to the extent that it

27     calls for testimony on matters not relevant and/or not reasonably calculated to lead to the discovery

28     of admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

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 1     associated with preparing one or more of its officers, directors, or managing agents, or designated

 2     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

 3     the requested testimony.

 4     MATTER NO. 2:

 5            All information and documents about bribery of any kind (i.e., money or favor or something

 6     else of value given or promised in order to influence someone's judgment or conduct) related to the

 7     matters referenced in the Case Study, the March 23, 2023 Email, the Whistleblower Report, the

 8     Gizmodo Article, or, to the extent that Wired has such information, the SAC.

 9     RESPONSE TO MATTER NO. 2:

10            Advance incorporates by reference, as if fully set forth herein, the General Objections set

11     forth above. Advance objects to this Examination Matter to the extent it calls for testimony on

12     matters protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination

13     Matter to the extent it calls for testimony about matters protected from disclosure under the State

14     Shield Law. Advance further objects to this Examination Matter to the extent that it calls for

15     testimony about matters protected from disclosure by the attorney-client privilege, the attorney

16     work product doctrine, and any other applicable privilege or doctrine. Advance objects to this

17     Examination Matter to the extent it calls for the disclosure of confidential, sensitive, proprietary

18     and/or private information and/or trade secrets. Advance objects to this Examination Matter as

19     vague, ambiguous, compound, overbroad and unduly burdensome, including but not limited to the

20     general and broad reference to the SAC, which was not attached to the Subpoena and the exhibits to

21     which are not part of any one inclusive docket entry accessible via PACER. Advance also objects

22     to this Examination Matter to the extent that it calls for testimony on matters publicly available

23     and/or equally accessible to the Subpoenaing Party. Advance objects to this Examination Matter to

24     the extent that it calls for testimony on matters not in Advance’s possession, custody or control, or

25     known to or reasonably available to it, including but not limited to any information obtained by

26     Advance journalists while employed by any other news organization or entity. Advance objects to

27     this Examination Matter to the extent that it calls for testimony on matters that are not relevant

28     and/or not reasonably calculated to lead to the discovery of admissible evidence. Advance objects

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 1     to this Examination Matter on the grounds that the burden associated with preparing one or more of

 2     its officers, directors, or managing agents, or designated other persons who consents to testify on its

 3     behalf, is not proportionate to the relevance, if any, of the requested testimony.

 4     MATTER NO. 3:

 5              Communications with any person relating [sic] matters included in the March 23, 2023

 6     Email.

 7     RESPONSE TO MATTER NO. 3:

 8              Advance incorporates by reference, as if fully set forth herein, the General Objections set

 9     forth above. Advance objects to this Examination Matter as calling for testimony on matters

10     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

11     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

12     further objects to this Examination Matter to the extent that it calls for testimony on matters

13     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

14     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

15     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

16     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

17     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

18     objects to this Examination Matter to the extent that it calls for testimony about matters not in

19     Advance’s possession, custody or control, or known to or reasonably available to it, including but

20     not limited to any information obtained by Advance journalists while employed by any other news

21     organization or entity. Advance objects to this Examination Matter to the extent that it calls for

22     testimony on matters not relevant and/or not reasonably calculated to lead to the discovery of

23     admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

24     associated with preparing one or more of its officers, directors, or managing agents, or designated

25     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

26     the requested testimony.

27     MATTER NO. 4:

28              Communications with any person relating to the Case Study, including Meta Defendants.

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 1     RESPONSE TO MATTER NO. 5:

 2            Advance incorporates by reference, as if fully set forth herein, the General Objections set

 3     forth above. Advance objects to this Examination Matter as calling for testimony on matters

 4     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

 5     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

 6     further objects to this Examination Matter to the extent that it calls for testimony on matters

 7     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

 8     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

 9     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

10     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

11     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

12     objects to this Examination Matter to the extent that it calls for testimony about matters not in

13     Advance’s possession, custody or control, or known to or reasonably available to it, including but

14     not limited to any information obtained by Advance journalists while employed by any other news

15     organization or entity. Advance objects to this Examination Matter to the extent that it calls for

16     testimony on matters not relevant and/or not reasonably calculated to lead to the discovery of

17     admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

18     associated with preparing one or more of its officers, directors, or managing agents, or designated

19     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

20     the requested testimony.

21     MATTER NO. 5:

22            The Case Study.

23     RESPONSE TO MATTER NO. 5:

24            Advance incorporates by reference, as if fully set forth herein, the General Objections set

25     forth above. Advance objects to this Examination Matter as calling for testimony on matters

26     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

27     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

28     further objects to this Examination Matter to the extent that it calls for testimony on matters

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 1     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

 2     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

 3     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

 4     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

 5     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

 6     objects to this Examination Matter to the extent that it calls for testimony about matters not in

 7     Advance’s possession, custody or control, or known to or reasonably available to it, including but

 8     not limited to any information obtained by Advance journalists while employed by any other news

 9     organization or entity. Advance objects to this Examination Matter to the extent that it calls for

10     testimony on matters not relevant and/or not reasonably calculated to lead to the discovery of

11     admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

12     associated with preparing one or more of its officers, directors, or managing agents, or designated

13     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

14     the requested testimony.

15     MATTER NO. 6:

16            All information you have obtained relating to matters addressed in the Case Study.

17     RESPONSE TO MATTER NO. 6:

18            Advance incorporates by reference, as if fully set forth herein, the General Objections set

19     forth above. Advance objects to this Examination Matter as calling for testimony on matters

20     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

21     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

22     further objects to this Examination Matter to the extent that it calls for testimony on matters

23     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

24     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

25     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

26     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

27     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

28     objects to this Examination Matter to the extent that it calls for testimony about matters not in

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 1     Advance’s possession, custody or control, or known to or reasonably available to it, including but

 2     not limited to any information or materials obtained by Advance journalists while employed by any

 3     other news organization or entity. Advance objects to this Examination Matter to the extent that it

 4     calls for testimony on matters not relevant and/or not reasonably calculated to lead to the discovery

 5     of admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

 6     associated with preparing one or more of its officers, directors, or managing agents, or designated

 7     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

 8     the requested testimony.

 9     MATTER NO. 7:

10     Your access to Case Study or any portion thereof.

11     RESPONSE TO MATTER NO. 7:

12            Advance incorporates by reference, as if fully set forth herein, the General Objections set

13     forth above. Advance objects to this Examination Matter as calling for testimony on matters

14     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

15     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

16     further objects to this Examination Matter to the extent that it calls for testimony on matters

17     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

18     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

19     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

20     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

21     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

22     objects to this Examination Matter to the extent that it calls for testimony about matters not in

23     Advance’s possession, custody or control, or known to or reasonably available to it, including but

24     not limited to any information or materials obtained by Advance journalists while employed by any

25     other news organization or entity. Advance objects to this Examination Matter to the extent that it

26     calls for testimony on matters not relevant and/or not reasonably calculated to lead to the discovery

27     of admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

28     associated with preparing one or more of its officers, directors, or managing agents, or designated

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 1     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

 2     the requested testimony.

 3     MATTER NO. 8:

 4            The circumstances in which you obtained the Case Study or any portion thereof.

 5     RESPONSE TO MATTER NO. 8:

 6            Advance incorporates by reference, as if fully set forth herein, the General Objections set

 7     forth above. Advance objects to this Examination Matter as calling for testimony on matters

 8     protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination Matter

 9     as calling for testimony on matters protected from disclosure under the State Shield Law. Advance

10     further objects to this Examination Matter to the extent that it calls for testimony on matters

11     protected from disclosure by the attorney-client privilege, the attorney work product doctrine, and

12     any other applicable privilege or doctrine. Advance objects to this Examination Matter as calling

13     for the disclosure of confidential, sensitive, proprietary and/or private information and/or trade

14     secrets. Advance also objects to this Examination Matter to the extent that it calls for testimony on

15     matters that are publicly available and/or equally accessible to the Subpoenaing Party. Advance

16     objects to this Examination Matter to the extent that it calls for testimony about matters not in

17     Advance’s possession, custody or control, or known to or reasonably available to it, including but

18     not limited to any information or materials obtained by Advance journalists while employed by any

19     other news organization or entity. Advance objects to this Examination Matter to the extent that it

20     calls for testimony on matters not relevant and/or not reasonably calculated to lead to the discovery

21     of admissible evidence. Advance objects to this Examination Matter on the grounds that the burden

22     associated with preparing one or more of its officers, directors, or managing agents, or designated

23     other persons who consents to testify on its behalf, is not proportionate to the relevance, if any, of

24     the requested testimony.

25     MATTER NO. 9:

26            The identities of the individuals referred to in the Case Study as “Employee 1,” “Employee

27     2,” “Employe 3,” and “Employee 4.”

28

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 1     RESPONSE TO MATTER NO. 9:

 2             Advance incorporates by reference, as if fully set forth herein, the General Objections set

 3     forth above. Without waiving those objections, and subject to them, the Examination Matter on

 4     which Advance is being asked to designate a deponent is not known or reasonably available to

 5     Advance, and thus it cannot designate a deponent to testify on its behalf on the matter.

 6     MATTER NO. 10:

 7             All information you have obtained about actions by any person employed by Meta

 8     Platforms, Inc. or any of its subsidiaries or affiliated entities, that occurred or are occurring in

 9     California relating to OnlyFans.com or its owners, employees, agents, contractors, or

10     representatives.

11     RESPONSE TO MATTER 10:

12             Advance incorporates by reference, as if fully set forth herein, the General Objections set

13     forth above. Advance objects to this Examination Matter to the extent it calls for testimony on

14     matters protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination

15     Matter to the extent it calls for testimony on matters protected from disclosure under the State

16     Shield Law. Advance further objects to this Examination Matter to the extent that it calls for

17     testimony on matters protected from disclosure by the attorney-client privilege, the attorney work

18     product doctrine, and any other applicable privilege or doctrine. Advance objects to this

19     Examination Matter as calling for the disclosure of confidential, sensitive, proprietary and/or private

20     information and/or trade secrets. Advance objects to this Examination Matter as vague, ambiguous,

21     overbroad and unduly burdensome. Advance also objects to this Examination Matter to the extent

22     that it calls for testimony on matters that are publicly available and/or equally accessible to the

23     Subpoenaing Party. Advance objects to this Examination Matter to the extent that it calls for

24     testimony about matters not within Advance’s possession, custody or control, or known to or

25     reasonably available to it, including but not limited to any information or materials obtained by

26     Advance journalists while employed by any other news organization or entity. Advance objects to

27     this Examination Matter to the extent that it calls for testimony on matters not relevant and/or not

28     reasonably calculated to lead to the discovery of admissible evidence. Advance objects to this

       NON-PARTY ADVANCE MAGAZINE PUBLISHERS INC.’S
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 1     Examination Matter on the grounds that the burden associated with preparing one or more of its

 2     officers, directors, or managing agents, or designated other persons who consents to testify on its

 3     behalf, is not proportionate to the relevance, if any, of the requested testimony.

 4     MATTER NO. 11:

 5            All information you have obtained about communications among any persons employed by

 6     Meta Platforms, Inc. or any of its subsidiaries or affiliated entities, that occurred or are occurring in

 7     California relating to OnlyFans.com or its owners, employees, agents, contractors, or

 8     representatives.

 9     RESPONSE TO MATTER NO. 11:

10            Advance incorporates by reference, as if fully set forth herein, the General Objections set

11     forth above. Advance objects to this Examination Matter to the extent it calls for testimony on

12     matters protected from disclosure by the Reporter’s Privilege. Advance objects to this Examination

13     Matter to the extent it calls for testimony on matters protected from disclosure under the State

14     Shield Law. Advance further objects to this Examination Matter to the extent that it calls for

15     testimony on matters protected from disclosure by the attorney-client privilege, the attorney work

16     product doctrine, and any other applicable privilege or doctrine. Advance objects to this

17     Examination Matter as calling for the disclosure of confidential, sensitive, proprietary and/or private

18     information and/or trade secrets. Advance objects to this Examination Matter as vague, ambiguous,

19     overbroad and unduly burdensome. Advance also objects to this Examination Matter to the extent

20     that it calls for testimony on matters that are publicly available and/or equally accessible to the

21     Subpoenaing Party. Advance objects to this Examination Matter to the extent that it calls for

22     testimony about matters not in Advance’s possession, custody or control, or known to or reasonably

23     available to it, including but not limited to any information or materials obtained by Advance

24     journalists while employed by any other news organization or entity. Advance objects to this

25     Examination Matter to the extent that it calls for testimony on matters not relevant and/or not

26     reasonably calculated to lead to the discovery of admissible evidence. Advance objects to this

27     Examination Matter on the grounds that the burden associated with preparing one or more of its

28

       NON-PARTY ADVANCE MAGAZINE PUBLISHERS INC.’S
       OBJECTIONS TO DEPOSITION SUBPOENA              -17-
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 1     officers, directors, or managing agents, or designated other persons who consents to testify on its

 2     behalf, is not proportionate to the relevance, if any, of the requested testimony.

 3     DATED:         April 19 __, 2023               JASSY VICK CAROLAN LLP

 4
 5                                                                     /s/ Duffy Carolan
 6                                                                      DUFFY CAROLAN
                                                             Counsel for Non-Party Media Entity Advance
 7                                                           Magazine, Publishers Inc.

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       NON-PARTY ADVANCE MAGAZINE PUBLISHERS INC.’S
       OBJECTIONS TO DEPOSITION SUBPOENA              -18-
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 1                                         PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 3        I am over 18 years of age and not a party to this action. I am employed in the County of
 4 San Francisco, State of California. My business address is 601 Montgomery Street, Suite 850, San
   Francisco, California 94111.
 5
            On April 19, 2023, I served true copies of the following document(s) described as:
 6
            NON-PARTY MEDIA ENTITY ADVANCE MAGAZINE PUBLISHERS INC.’S
 7
            OBJECTIONS TO SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
 8          ACTION.

 9 on the interested parties in this action as follows:
10 David E. Azar
     Milberg Coleman Bryson Phillips Grossman PLLC
11 280 S. Beverly Dr., #PH
12 Beverley Hills, CA 90212
     dazar@milberg.com
13
     Timothy L. Alger
14 Emerge Law Group, P.C.
     100 Spectrum Center Drive, Suite 900
15 Irvine, CA 92618
16 tim@emergelawgroup.com
17         BY ELECTRONIC MAIL (E-MAIL): I caused the said documents to be transmitted by
            e-mail, by advance agreement for service, to the persons at the e-mail addresses listed
18          above. I did not receive, within a reasonable time after the transmission, any electronic
            message or other indication that the transmission was unsuccessful.
19
20        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
21 Court at whose direction the service was made
22          Executed on April 19, 2023, at San Francisco, California.
23
                                                            /s/ Duffy Carolan
24                                                         Duffy Carolan

25
26
27
28

                                                                                    PROOF OF SERVICE
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            EXHIBIT 5
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                                                                           Page 1

 1                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                             CASE NO.: 3:22-CV-01101-WHA
 3
               DAWN DANGAARD, a/k/a ALANA
 4             EVANS, KELLY GILBERT, a/k/a
               KELLY PIERCE, JENNIFER ALLBAUGH,
 5             a/k/a RUBY; and on behalf of
               themselves and all others
 6             similarly situated,
 7                            Plaintiffs,
 8             vs.
 9             INSTAGRAM, LLC; FACEBOOK
               OPERATIONS, LLC; FENIX INTERNET
10             LLC; FENIX INTERNATIONAL INC.;
               META PLATFORMS, INC.; LEONID
11             RADVINSKY; and JOHN DOES 1-10,,
12                            Defendants.
               ________________________________/
13
14
15                            TRANSCRIPT DEEMED CONFIDENTIAL
16
                                   REMOTE DEPOSITION OF
17
                                   CORDELL JAMES CAMERON
18
19
20                                  Pages 1 through 199
21
                                  Wednesday, May 24, 2023
22                                 1:10 p.m. - 7:10 p.m.
23
24                             Stenographically Reported By:
25                             Denise Sankary, RPR, RMR, CRR

                                   Veritext Legal Solutions
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 1                  Q.   From whom did you receive the
 2        whistleblower report?
 3                       MS. CAROLAN:       Objection.          Calls for
 4                  information protected by the reporter's
 5                  privilege.    Instruct the witness not to answer.
 6                  A.   I decline to answer that.
 7           BY MR. ALLEN:
 8                  Q.   On what date did you receive the
 9        whistleblower report?
10                       MS. CAROLAN:       Objection.          Calls for
11                  information protected by the reporter's
12                  privilege.    Instruct the witness not to answer.
13                  A.   I decline to answer that.
14           BY MR. ALLEN:
15                  Q.   So just so we're clear, Judge Alsup has
16        issued a standing order governing discovery, and in
17        that standing order he says, and I quote, "When a
18        privilege is claimed, the witness should
19        nevertheless answer questions relevant to the
20        existence, extent or waiver of the privilege such as
21        the date of a communication, who made the statement,
22        to whom and whose presence the statement was made,
23        other persons to whom the contents of the statement
24        have been disclosed, and the general subject matter
25        of the statement."

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 1                  it's protected under the reporter's privilege,
 2                  unless the reporter elects to answer.
 3                  A.   I decline to answer that.
 4           BY MR. ALLEN:
 5                  Q.   When you reviewed the report in January of
 6        2023, for how long did you review it?
 7                       MS. CAROLAN:       Same objection.          Calls for
 8                  information protected by the reporter's
 9                  privilege.
10                  A.   I reviewed it approximately two hours.
11           BY MR. ALLEN:
12                  Q.   Did you take notes while you were
13        reviewing it?
14                       MS. CAROLAN:       Objection.          Calls for
15                  information protected by the reporter's
16                  privilege.
17                  A.   I did take notes.
18           BY MR. ALLEN:
19                  Q.   Do you have possession of those notes
20        today?
21                  A.   I don't.
22                  Q.   You do not?
23                  A.   I do not.
24                  Q.   Do you know where those notes are located
25        today?

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 1                  A.   They're not located anywhere.
 2                  Q.   Were they subsequently destroyed?
 3                  A.   They were.
 4                  Q.   How did that come to be?
 5                  A.   They were electronically destroyed in a --
 6        based on an automated deletion, a timed deletion.
 7                  Q.   Did you set the time deletion to occur at
 8        a particular point in time?
 9                  A.   I don't recall.
10                  Q.   Is this via some special program that
11        deletes stuff via -- you know, within a certain time
12        period?
13                  A.   Yes.
14                  Q.   What program?
15                  A.   Signal.
16                  Q.   Do you recall approximately when the
17        deletion occurred?
18                       MS. CAROLAN:      I'm going to object to the
19                  extent it calls for information protected by
20                  the reporter's privilege.
21                  A.   Within a week of taking the notes.
22           BY MR. ALLEN:
23                  Q.   In the period where the notes existed
24        between when you took them and when they were
25        destroyed, did you record the contents of those

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 1           BY MR. ALLEN:
 2                  Q.   Has anyone else employed by WIRED seen a
 3        physical copy of the report?            And by "the report,"
 4        again, I'm not talking about the transcript.                  I'm
 5        talking about the original report that you reviewed
 6        in 2023.
 7                       So has anyone else employed by WIRED, to
 8        your knowledge, seen the original copy of the report
 9        that you reviewed in January of 2023?
10                       MS. CAROLAN:    I'm just going to object to
11                  the extent it calls for information protected
12                  by the reporter's privilege.             If it can be
13                  answered without implicating those protections.
14                  A.   I decline to answer that.
15           BY MR. ALLEN:
16                  Q.   Do you know who originally authored the
17        report?
18                       MS. CAROLAN:    Same objection.           I instruct
19                  the witness not to answer.
20                  A.   I decline to answer that.
21           BY MR. ALLEN:
22                  Q.   Mr. Cameron, the source that allowed you
23        to come and review a physical copy of this report in
24        January of 2023, do you know -- strike that.
25                       What basis do you have for believing that

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 1        produced it?
 2                  A.   I provided Meta with portions of it and
 3        cited it in e-mails, but I did not provide anyone
 4        with a full copy of this report.
 5                  Q.   Okay.    So just so the record is clear, you
 6        have a copy of a transcript of the report that
 7        includes four sections that you have not provided to
 8        any of the parties in this litigation, correct?
 9                  A.   Minus copy of a transcript.                 I don't know
10        what that means.          I have the transcript of the
11        document that contains all four sections of the
12        report in my possession, yes.
13                       MS. CAROLAN:       He's asking whether you
14                  provided it to any of the parties in the
15                  action.
16                  A.   Oh, I'm sorry.        No, I did not provide the
17        full transcript to any parties in this case.
18           BY MR. ALLEN:
19                  Q.   Thank you.      Appreciate it.
20                       Are you willing to provide that full
21        transcript to us either today or shortly after this
22        deposition?
23                       MS. CAROLAN:       I just object on the
24                  reporter's privilege grounds.
25                  A.   Not at this time.

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 1           BY MR. ALLEN:
 2                  Q.   Has anyone else at WIRED seen the version
 3        of this transcript that includes all four sections?
 4                       MS. CAROLAN:       I'm going to object as
 5                  calling for information protected by the
 6                  reporter's privilege.         I'm going to instruct
 7                  the witness not to answer.
 8                  A.   My editor has seen it.
 9           BY MR. ALLEN:
10                  Q.   That's Mr. Couts?
11                  A.   That's right.
12                  Q.   Anyone else?
13                       MS. CAROLAN:       I'm going to object to the
14                  extent it calls for information protected by
15                  the reporter's privilege and/or the
16                  attorney-client privilege, and instruct the
17                  witness not to answer.
18                  A.   I decline to answer.
19           BY MR. ALLEN:
20                  Q.   Has anyone at WIRED conveyed to you any
21        concerns they have about the authenticity of the
22        report?
23                       MS. CAROLAN:       Objection.          Calls for
24                  information protected by the reporter's
25                  privilege.    I instruct the witness not to

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 1                  answer.
 2                  A.   I decline to answer that.
 3           BY MR. ALLEN:
 4                  Q.   Was the report provided to you by one
 5        source or multiple sources?
 6                       MS. CAROLAN:       Objection, asked and
 7                  answered, and objection based on the reporter's
 8                  privilege.    I think he refused to answer that
 9                  already.
10                  A.   I decline to answer that.
11           BY MR. ALLEN:
12                  Q.   Mr. Cameron, what steps did you take to
13        try to corroborate the information that's contained
14        in Exhibit 22 here?
15                       MS. CAROLAN:       I'm going to object to the
16                  extent it calls for information protected by
17                  the reporter's privilege, and instruct the
18                  witness not to answer unless he can do so
19                  without implicating the protections by, for
20                  example, publishing information in a news
21                  article.
22                  A.   My steps weren't limited to this.                But
23        among them, reaching out to Meta to inquire and ask
24        them questions about the details in this document,
25        which included a list of 22 questions, plus others.

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 1           BY MR. ALLEN:
 2                  Q.   Did you take any other steps to
 3        corroborate the information in Exhibit 22?
 4                       MS. CAROLAN:      Same objection.
 5                  A.   Yes.
 6           BY MR. ALLEN:
 7                  Q.   What else did you do?
 8                  A.   I decline to answer that.
 9                  Q.   Exhibit 22 mentions a few different Meta
10        employees without naming them.                It mentions Employee
11        1, Employee 2, Employee 3, and Employee 4.
12                       Do you recall that?
13                  A.   Yes.
14                  Q.   Do you know the identity of the individual
15        that's been listed as Employee 1 in Exhibit 22?
16                       MS. CAROLAN:      I'm going to object to the
17                  extent it calls for information protected by
18                  the reporter's privilege.           But if the witness
19                  can answer without implicating those
20                  protections, he may.
21                  A.   I decline to say whether I know the
22        identities of Employees 1 through 3.                 Employee 4 is
23        identified by a job title that seems exclusive to a
24        single person, and --
25

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 1           BY MR. ALLEN:
 2                  Q.   Who -- I'm sorry.       Go ahead.
 3                  A.   And that is publicly available
 4        information.
 5                  Q.   Since it's publicly available information,
 6        can you tell us who your understanding of who
 7        Employee 4 is?
 8                  A.   I don't have that information in front of
 9        me.
10                  Q.   And you don't recall at the moment?
11                  A.   I don't recall the name of the individual.
12        They're an assistant to an executive at Facebook.
13                  Q.   One second.
14                       Mr. Cameron, you told Mr. Alger you
15        believe Facebook was looking to find employees who
16        had had anything to do with this document and maybe
17        trying to rehire them or place them closer within
18        its legal department in an effort to keep them from
19        communicating about the document.
20                       Do you recall that testimony?
21                  A.   I'm sorry.    The beginning of your question
22        started how?
23                  Q.   I'll repeat it.
24                       Mr. Cameron, you told Mr. Alger when he
25        was questioning you the following:                 You told him

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 1        that you believed Facebook was looking to find
 2        employees who had had anything to do with this
 3        document, the report we've been talking about, and
 4        that Facebook may be trying to rehire them or place
 5        them closer within its legal department in an effort
 6        to keep them from communicating about the document.
 7                       Do you recall that testimony?
 8                  A.   I recall the testimony.                If I said I
 9        believed that, that was an overstatement, and I
10        would like to correct the record.
11                  Q.   Please do correct the record.                Thank you.
12                  A.   I had heard that information, but had
13        taken no steps to verify it.
14                  Q.   From whom did you hear that information?
15                       MS. CAROLAN:       Objection.           Calls for
16                  information protected by the reporter's
17                  privilege.
18                  A.   I decline to answer that.
19           BY MR. ALLEN:
20                  Q.   You also testified that you recall telling
21        Mr. Bamberger that you believed Meta had approached
22        the author of the report and asked that individual
23        to sign a sworn statement that it was just a draft
24        and not intended for public release.
25                       Do you recall that testimony?

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 1                  A.   I recall the testimony.                But if I said at
 2        that time, and I don't recall, that I believe that,
 3        then I would like to correct the record and state
 4        that I heard that information, but had taken no
 5        steps to verify it during that conversation with
 6        Mr. Bamberger.
 7                  Q.   Have you taken any steps to verify it
 8        since?
 9                       MS. CAROLAN:       Objection.           Calls for
10                  information protected by the reporter's
11                  privilege.    Instruct the witness not to answer
12                  unless he can do so without implicating those
13                  protections.
14                  A.   I decline to answer that.
15           BY MR. ALLEN:
16                  Q.   From whom had you heard that?
17                       MS. CAROLAN:       Same objection.
18                  A.   A confidential source.
19           BY MR. ALLEN:
20                  Q.   Are you willing to identify that
21        confidential source?
22                  A.   I am not.
23                  Q.   Mr. Cameron, other than the whistleblower
24        report that we've talked about and the draft of the
25        alleged internal report that you reviewed, do you

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 1        penultimate sentence on page 7.                 It says,
 2        "Notwithstanding the above objections, and subject
 3        to them, Advance has conducted a reasonable search
 4        and diligent inquiry for responsive materials within
 5        its possession, custody or control and has been
 6        unable to locate any responsive documents, nor does
 7        it believe any such responsive documents were once
 8        in its possession, custody or control, but have
 9        since been lost, discarded or destroyed."
10                       Do you see that, Mr. Cameron?
11                  A.   I do.
12                  Q.   Is that an accurate statement at the time
13        these responses and objections were served?
14                       MS. CAROLAN:       I just want to object as
15                  vague.   And to clarify, Mr. Cameron is
16                  testifying on behalf of Advance pursuant to the
17                  designation letter.        That designation is
18                  limited to information he obtained in the
19                  course of newsgathering while employed by
20                  Advance, i.e. not Gizmodo.
21                       So the questions as to bribery,
22                  information about that while he was employed by
23                  Advance is to limitation, the objection and the
24                  purpose for which we designated Mr. Cameron.
25                       MR. ALLEN:      Okay.      My question still

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 1                  stands.
 2           BY MR. ALLEN:
 3                  Q.   Mr. Cameron, is that statement accurate at
 4        the time these responses and objections were served?
 5                  A.   To the best of my knowledge.
 6                  Q.   And to the best of your knowledge, is it
 7        accurate today?
 8                  A.   Yes.
 9                       MR. ALLEN:      One second, please.
10                       Thank you, Mr. Cameron.                I have no further
11                  questions.
12                       We will need to hold the deposition open
13                  given the number of objections that were made
14                  to questions that we asked and that we believe
15                  Judge Alsup wanted us to inquire into, so the
16                  deposition will have to remain open.
17                       I will, before I forget, designate the
18                  deposition as confidential under the various
19                  applicable protective orders that apply in this
20                  case.
21                       But I have no further questions for you,
22                  but Mr. Sternberg might.
23                       MR. STERNBERG:        Yeah, I do have questions.
24                       Can we take a five -- actually, let's make
25                  it a ten-minute break, and I'll try to organize

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            EXHIBIT 
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                                                                          Page 1

 1                    UNITED STATED DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
 2
 3                   CASE NO. 3:22-CV-01101-WHA
 4      DAWN DANGAARD, a/k/a ALANA
        EVANS, ASHLEY NICOLE MILLER,
 5      a/k/a NICOLE ANISTON, KELLY
        GILBERT, a/k/a KELLY PIERCE,
 6      JENNIFER ALLBAUGH, a/k/a RUBY,
        and LAURA ALLEN, a/k/a AMBER
 7      LYNN on behalf of themselves and all
        others similarly situated,
 8                     Plaintiffs,
 9      V.
10
        FENIX INTERNET LLC, FENIX
11      INTERNATIONAL INC., META
        PLATFORMS, INC., INSTAGRAM,
12      LLC, FACEBOOK OPERATIONS, LLC,
        LEONID RADVINSKY, and JOHN
13      DOES 1-10,
                       Defendants.
14      _____________________________________
15
16                               Remote Proceedings
                                 May 25, 2023
17                               4:02 p.m. - 4:48 p.m.
18                 DEPOSITION OF ANDREW COUTS
19      **** HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY****
20          Taken before SUZANNE VITALE, R.P.R., F.P.R.
21      and Notary Public for the State of Florida at Large,
22      pursuant to Notice of Taking Deposition filed in the
23      above cause.
24
25

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                                                                         Page 11

 1             Q.   You can answer the question, please.
 2             A.   I believe he is a very talented reporter
 3      and writer.
 4             Q.   Did you find that his work was high
 5      quality?
 6             A.   Yes.
 7             Q.   And have your opinions of Mr. Cameron's
 8      performance changed since he came to work for you at
 9      WIRED?
10             A.   No.
11             Q.   Have you discussed with Mr. Cameron his
12      research regarding allegations that OnlyFans has
13      received special treatment on Instagram and
14      Facebook?
15                  MS. CAROLAN:      I'm going to interject an
16             objection based on the First Amendment and
17             common law reporter's privilege as well as
18             state shared law protections, including Article
19             1, Section 2(b) of the California Constitution
20             and California Evidence Code, Section 1070 and
21             Article 1, Section 8 of the New York
22             Constitution and the New York Civil Rights Law,
23             Section 779(h).
24                  I instruct the witness not to answer
25             unless he can do so without implicating those

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                                                                         Page 12

 1             protections or unless he otherwise elects to
 2             answer the question.
 3                  And just for -- again, like we did
 4             yesterday with Mr. Cameron's deposition for
 5             brevity, I'll be referring to these
 6             journalist's protections collectively as a
 7             reporter's privilege and objecting on that
 8             basis throughout these proceedings.
 9                  MR. ALGER:     Thank you.
10      BY MR. ALGER:
11             Q.   Are you prepared to answer that question,
12      Mr. Couts?
13             A.   I decline to answer that question.
14                  MR. ALGER:     Okay, I'm going to send to the
15             court reporter and counsel Exhibit 35.
16                  MS. CAROLAN:      Mr. Alger, if you can send
17             it to us before you discuss it.
18                  MR. ALGER:     I'm going to send it to
19             counsel before I put it on the screen.
20                  MS. CAROLAN:      I still don't have it.
21                  MR. ALGER:     I'm just going slow.            Sorry.
22                  Has everybody gotten it?
23                  MS. CAROLAN:      I don't have it yet.
24                  MR. STERNBERG:       It came through for me.
25                  MR. ALGER:     Ms. Carolan, have you received

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                                                                         Page 19

 1             Q.   Mr. Couts, are you going to follow your
 2      counsel's advice?
 3             A.   I am.
 4             Q.   And you're going to decline to answer?
 5             A.   I am.
 6             Q.   Did Mr. Cameron provide you with any
 7      information regarding his source for Exhibit 22?
 8                  MS. CAROLAN:      I'm going to object based on
 9             the reporter's privilege and instruct the
10             witness not to answer.
11      BY MR. ALGER:
12             Q.   Mr. Couts, are you going to follow your
13      counsel's advice?
14             A.   Yes.
15             Q.   And you're going to decline to answer?
16             A.   Yes.
17             Q.   Mr. Couts, do you know anything about the
18      source of Exhibit 22?
19                  MS. CAROLAN:      Same objection, same
20             instruction.
21      BY MR. ALGER:
22             Q.   Mr. Couts, are you going to follow your
23      counsel's advice and decline to answer?
24             A.   I am.
25             Q.   Mr. Couts, did you discuss at any time

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                                                                         Page 20

 1      with Mr. Cameron whether the transcript, Exhibit 22,
 2      was newsworthy?
 3                  MS. CAROLAN:      Objection to the extent it
 4             calls for unpublished information, information
 5             protected by the reporter's privilege.               I
 6             instruct the witness not to answer.
 7      BY MR. ALGER:
 8             Q.   Mr. Couts, are you going to follow your
 9      counsel's advice and decline to answer?
10             A.   I am.
11             Q.   Mr. Couts, did you discuss with
12      Mr. Cameron whether to publish an article about
13      Exhibit 22?
14                  MS. CAROLAN:      Objection, calls for
15             information protected by the reporter's
16             privilege and instruct the witness not to
17             answer.
18      BY MR. ALGER:
19             Q.   Mr. Couts, are you going to follow your
20      counsel's advice and decline to answer?
21             A.   I am.
22             Q.   Mr. Couts, have you ever had any form of
23      contact with an attorney named David Azar?
24             A.   No.
25             Q.   Mr. Couts, have you ever had any form of

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                                                                         Page 24

 1             reporter's privilege and instruct the witness
 2             not to answer.
 3      BY MR. ALLEN:
 4             Q.   Are you going to follow that instruction?
 5             A.   Yes.
 6             Q.   Who do you believe to be the author of the
 7      original report that Mr. Cameron reviewed?
 8                  MS. CAROLAN:      Same objection, same
 9             instruction.
10      BY MR. ALLEN:
11             Q.   Are you going to follow that instruction?
12             A.   Yes.
13             Q.   Other than Mr. Cameron, to your knowledge,
14      has anyone else at WIRED reviewed the original copy
15      of the report?
16                  MS. CAROLAN:      Objection, calls for
17             information protected by the reporter's
18             privilege and instruct the witness not to
19             answer.
20      BY MR. ALLEN:
21             Q.   Are you going to follow that instruction?
22             A.   Yes.
23             Q.   To your knowledge, other than the physical
24      copy of the report that Mr. Cameron reviewed, are
25      there any other copies of the report?

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 1      opposed to one section?
 2                  MS. CAROLAN:      Object to the extent it
 3             calls for information protected by the
 4             reporter's privilege and instruct the witness
 5             not to answer.
 6      BY MR. ALLEN:
 7             Q.   Are you going to follow that instruction?
 8             A.   Yes.
 9             Q.   What steps have you taken to confirm or
10      deny the allegations made in Exhibit 22?
11                  MS. CAROLAN:      Objection, it's calling for
12             information protected by the reporter's
13             privilege and I would instruct the witness not
14             to answer.
15      BY MR. ALLEN:
16             Q.   Are you going to follow that instruction?
17             A.   Yes.
18             Q.   Who else at WIRED has seen Exhibit 22?
19                  MS. CAROLAN:      Same objection, same
20             instruction.
21      BY MR. ALLEN:
22             Q.   Will you follow that instruction?
23             A.   Yes.
24             Q.   Without telling me the name, or identity
25      of the confidential source that provided either

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            EXHIBIT 7
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1    GREENBERG TRAURIG, LLP
     Rick L. Shackelford (SBN CA 151262)
2    1840 Century Park East, Suite 1900
     Los Angeles, California 90067-2121
3    Telephone: 310.586.7700
     Facsimile: 310.586.7800
4    shackelfordr@gtlaw.com
5
6    Attorneys for HSBC Bank USA, N.A.
7
8                                UNITED STATES DISTRICT COURT
9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   DAWN DANGAARD, a/k/a ALANA                       CASE NO. 3:22-cv-01101-WHA
     EVANS, KELLY GILBERT, a/k/a
12   KELLY PIERCE, JENNIFER
     ALLBAUGH, a/k/a Ruby, and on behalf              NON-PARTY HSBC BANK USA,
13   of themselves and all others similarly           N.A.’S OBJECTIONS TO SUBPOENA
     situated,
14
             Plaintiffs,
15
     v.
16
     INSTAGRAM, LLC, FACEBOOK
17   OPERATIONS, LLC, META
     PLATFORMS, INC., FENIX
18   INTERNATIONAL INC., FENIX
     INTERNET LLC, LEONID
19   RADVINSKY, and JOHN DOES 1-10,
20           Defendants.
21
22
23
24
25
26
27
28
                                                    1                       CASE NO. 3:22-cv-01101-WHA
                           NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
     ACTIVE 686842550v5
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1            HSBC BANK USA, N.A. (“HSBC”), pursuant to Rule 45 of the Federal Rules of
2    Civil Procedure, hereby provides its Objections to the Subpoena issued to it by Plaintiff
3    DAWN DANGAARD, KELLY GILBERT, and JENNIFER ALLBAUGH, and states:
4                                    I.      GENERAL OBJECTION
5            1.      HSBC generally objects to the Subpoena and the appearance at deposition
6    because Exhibits 1 through 12 to the Subpoena are not HSBC’s documents. HSBC cannot
7    vouch for them, interpret them, or provide an opinion on them. The Subpoena calls for
8    HSBC to provide opinion testimony on documents that it did not author. Prior to
9    providing any testimony or documents, HSBC is accepting the invitation in the Subpoena
10   to meet and confer because the Subpoena would require guesswork on the part of HSBC
11   and is not sufficiently specific in what information it seeks from HSBC to permit a more
12   meaningful response.
13                             II.   OBJECTIONS TO INSTRUCTIONS
14           2.      HSBC objects to the Subpoena because it does not allow a reasonable time to
15   comply by assembling the Documents requested and preparing to answer the Topics
16   posed. See Fed. R. Civ. P. 45(d)(3)(A)(i).
17           3.      HSBC objects to Instruction 7, which requires a statement of documents
18   destroyed, lost, or discarded, to the extent that it exceeds the requirements of the Federal
19   Rules of Civil Procedure.
20           4.      HSBC objects to the Instruction and “Integrated Document Requests)
21   (Subpoena, p. 7) to combine the Document request and the deposition Topics because it
22   requires HSBC to guess at where the Document request ends and the deposition Topics
23   begin, and do not clearly spell out which Documents are requested for production, as
24   opposed to questions about the documents attached to the Subpoena.
25                III.    OBJECTIONS TO GENERAL TOPICS (SUBPOENA, P. 7)
26           5.      HSBC objects to General Topic 1 and the definition of “genuine” to the
27   extent that it calls for HSBC to speculate about a non-HSBC document that Plaintiffs
28   admit was created on a non-HSBC system, the FedPayments Manager tool, using
                                                    2                       CASE NO. 3:22-cv-01101-WHA
                           NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1    “information” drawn from “other databases/systems/etc.” As such, the information sought
2    can be obtained from another source that is “more convenient, less burdensome, [and] less
3    expensive.” See Fed. R. Civ. P. 26(b)(2)(C)(i).
4            6.       HSBC objects to General Topic 2 because it calls for the answer to a
5    hypothetical question, i.e., “If someone decided to print the information from the
6    FedPayments Manager tool,” and again requires HSBC to speculate about non-HSBC
7    documents that Plaintiffs admit were created on a non-HSBC system, the FedPayments
8    Manager tool, using “information” drawn from “other databases/systems/etc.” General
9    Topic 2 is vague and ambiguous insofar as it purports to request “printouts”, but is unclear
10   on what, if any, documents are being sought.
11           7.       HSBC objects to General Topic 3 because it calls for the answer to a
12   question, i.e., “And do you have records of any other transactions from the same
13   originator to the same beneficiary,” that is confined not just to wire transfer records, but
14   involves every other possible transaction between the originator and beneficiary. As such,
15   the General Topic is overbroad and oppressive.
16           8.       HSBC objects to General Topic 4 because the terms “audit logs/ledger/source
17   documents” are vague, ambiguous, and undefined. To the extent that “source documents”
18   refer to every bank statement or item of information pertaining to the account, HSBC
19   objects that General Topic 4 is oppressive and unduly burdensome. To the extent that the
20   word “ledger” refers to every bank account statement, HSBC objects that General Topic 4
21   is oppressive and unduly burdensome. HSBC objects to General Topic 4 because it
22   requires it to draw a legal conclusion on accusations of alteration and destruction with no
23   basis in fact. HSBC objects to General Topic 4 because it fails to provide any criteria by
24   which HSBC could ascertain and answer the legal conclusion posed. HSBC objects to
25   any requirement to produce a representative to “testify about that investigation” insofar as
26   it invades the attorney-client and work product privileges. See Fed. R. Civ. P.
27   45(d)(3)(iii).
28           9.       HSBC objects to General Topic 5 because it calls for the answer to a
                                                    3                       CASE NO. 3:22-cv-01101-WHA
                           NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1    hypothetical question, i.e., “If any of the wire transfers are not genuine, is any of the
2    information in the Exhibits genuine,” insofar as it calls for speculation and again requires
3    HSBC to speculate about non-HSBC documents that Plaintiffs admit were created on a
4    non-HSBC system, the FedPayments Manager tool, using “information” drawn from
5    “other databases/systems/etc.” HSBC objects to General Topic 5 because it requires
6    HSBC to guess at whether information listed in a third-party system is genuine.
7            10.     HSBC objects to General Topic 5(a) as overbroad and oppressive insofar as it
8    requires HSBC to conduct a search of all IMAD or OMAD numbers. HSBC objects to the
9    request for a “component of the IMAD or OMAD number” as vague and undefined. As
10   phrased, it could refer to a single digit of the IMAD or OMAD number. HSBC objects
11   that the IMAD or OMAD number is a number generated by the Federal Reserve system,
12   and not HSBC. Thus, the Topic would require HSBC to opine on a third-party system.
13   See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from another
14   source that is “more convenient, less burdensome, [and] less expensive.”). To the extent
15   that the requested search results in disclosure of third-party documents, HSBC objects that
16   it invades third-party privacy and confidentiality expectations in the requested documents.
17           11.     HSBC objects to General Topic 5(b) insofar as it calls for the answer to a
18   hypothetical and speculative accusation as to how IMAD or OMAD numbers in a third-
19   party banking record, i.e., the FedPayments Manager tool, were created. HSBC objects
20   that it lacks personal knowledge as to how the FedPayments Manager tool creates IMAD
21   or OMAD numbers. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
22   obtained from another source that is “more convenient, less burdensome, [and] less
23   expensive”).
24           12.     HSBC objects to General Topic 5(c) insofar as it calls for the answer to a
25   hypothetical and speculative accusation as to how Originator or Beneficiary information
26   in a third-party banking record, i.e., the FedPayments Manager tool, were created. HSBC
27   objects to General Topic 5(c) insofar as, if the Originator and Beneficiary information are
28   associated with another customer, it requires HSBC to disclose information about a third-
                                                   4                       CASE NO. 3:22-cv-01101-WHA
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1    party bank customer in violation of privacy and banking regulations.
2            13.     HSBC objects to General Topic 6 because it calls for HSBC to opine as to the
3    contents of a third-party system, i.e., the FedPayments Manager tool, and opine if the
4    information is “genuine” or “false.” See Fed. R. Civ. P. 26(b)(2)(C)(i) (information
5    sought can be obtained from another source that is “more convenient, less burdensome,
6    [and] less expensive”). HSBC objects to General Topic 6(a)(iii) insofar as it is
7    incomprehensible and contains a sentence fragment: “what information you lack
8    sufficient information.” HSBC objects to General Topic 6(a)(iii) insofar as it calls for
9    speculation on what HSBC would need to determine if third-party information is
10   “genuine” or “false.”
11           14.     HSBC objects to General Topic 7 because it calls for the answer to a
12   hypothetical question, i.e., “Can you tell anything about the kind of information someone
13   would have had to have in order to create the exhibit.” HSBC objects to General Topic 7
14   because it calls for speculation on information that would be needed in order to “create the
15   exhibit” where the exhibit is, by Plaintiff’s own admission, from a third-party system.
16   HSBC objects to General Topic 7(a) insofar as all of the questions involved call for
17   complete speculation. HSBC objects to General Topic 7(b) insofar as all of the questions
18   posed call for complete speculation.
19           15.     HSBC objects to General Topic 8 insofar as it calls for the disclosure of work
20   product and attorney-client privileged information. Virtually every question calls not for a
21   discussion of existing facts, but for application of opinion to facts or speculation on a
22   third-party system.
23           16.     HSBC objects to General Topic 9 insofar as it calls for testimony on what
24   each of the numbers, codes and textual descriptions on a document generated by a third-
25   party system refer to. By Plaintiffs’ own admission, the system at issue is a Federal
26   Reserve system.
27           17.     HSBC objects to General Topic 10 insofar as it calls for testimony on what
28   each of the numbers, codes and textual descriptions on a document generated by a third-
                                                   5                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
     ACTIVE 686842550v5
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1    party system refer to. By Plaintiffs’ own admission, the system at issue is a Federal
2    Reserve system, and each of the questions involved relate to Federal Reserve policies, not
3    HSBC policies. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained
4    from another source that is “more convenient, less burdensome, [and] less expensive”).
5    HSBC objects to General Topic 10 insofar as it requires HSBC to “infer” anything as
6    compared to testifying about existing facts.
7            18.     HSBC objects to General Topic 11 insofar as it calls for the answer to a
8    hypothetical question, “What access level would be required in FedPayments Manager to
9    input the kind of information in the Exhibits, or to access or print a form like that of the
10   Exhibits….” The speculative and hypothetical question relates to a third-party system, not
11   owned or originated by HSBC. HSBC objects to any requirement to identify every single
12   employee of HSBC who might have access to the information in FedPayments Manager.
13           19.     HSBC objects to General Topic 12 as vague and ambiguous as there is only
14   one wire between Fenix (Exhibit 12) and Smart Team International, and that wire is
15   originated from a Barclay’s account, not HSBC. The question seems to imply that there
16   are more than one, but does not identify which ones.
17           20.     HSBC objects to General Topic 13 as vague and ambiguous as to whether it
18   is seeking wires between “Fenix” and “Fenix International” or whether “Smart Team
19   International” needs to be a party to the wire. HSBC objects to General Topic 13 insofar
20   as it is vague as to whether the wire transfer must be wholly in Hong Kong. HSBC
21   objects to General Topic 13 insofar as it seeks information outside the possession,
22   custody, or control of HSBC.
23   IV.     OBJECTIONS TO SUB-TOPICS ON FEDPAYMENTS MANAGER FORMS
24                                            (SUBPOENA, P. 9)
25           21.     HSBC objects to Sub-Topic 1 insofar as it calls for a factual opinion on a
26   third-party document and therefore calls for speculation about whether those documents
27   are genuine. By Plaintiffs’ own admission, the system at issue is a Federal Reserve
28   system. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from
                                                   6                       CASE NO. 3:22-cv-01101-WHA
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1    another source that is “more convenient, less burdensome, [and] less expensive”). HSBC
2    objects to Sub-Topic 1 insofar as it does not define what “appear to be” means and does
3    not define what is a “FedPayments Manager report(s) or form(s).” The Sub-Topic calls
4    for HSBC to make a factual admission on whether a document that is wholly-generated by
5    a third party is, in fact, a “report” or “form.”
6            22.     HSBC objects to Sub-Topic 2 insofar as it calls for a factual opinion on a
7    third-party document and therefore calls for speculation. By Plaintiffs’ own admission,
8    the system at issue is a Federal Reserve system. See Fed. R. Civ. P. 26(b)(2)(C)(i)
9    (information sought can be obtained from another source that is “more convenient, less
10   burdensome, [and] less expensive”).
11           23.     HSBC objects to Sub-Topic 3 insofar as it calls for a factual opinion on a
12   third-party document and therefore calls for speculation. By Plaintiffs’ own admission,
13   the system at issue is a Federal Reserve system. See Fed. R. Civ. P. 26(b)(2)(C)(i)
14   (information sought can be obtained from another source that is “more convenient, less
15   burdensome, [and] less expensive”).
16           24.     HSBC objects to Sub-Topic 4 insofar as it calls for a factual opinion on a
17   third-party document and therefore calls for speculation on a Federal Reserve system that
18   HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
19   obtained from another source that is “more convenient, less burdensome, [and] less
20   expensive”).
21           25.     HSBC objects to Sub-Topic 5 insofar as it calls for a factual opinion on a
22   third-party document and therefore calls for speculation on a Federal Reserve system that
23   HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
24   obtained from another source that is “more convenient, less burdensome, [and] less
25   expensive”). HSBC objects to Sub-Topic 5 to the extent that it calls for a legal opinion on
26   Fed Reserve requirements.
27           26.     HSBC objects to Sub-Topic 6 insofar as it calls for a factual opinion on a
28   third-party document and therefore calls for speculation on a Federal Reserve system that
                                                   7                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1    HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
2    obtained from another source that is “more convenient, less burdensome, [and] less
3    expensive”).
4            27.     HSBC objects to Sub-Topic 7 insofar as it calls for a factual opinion on a
5    third-party document and therefore calls for speculation on a Federal Reserve system that
6    HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
7    obtained from another source that is “more convenient, less burdensome, [and] less
8    expensive”). HSBC further objects that “this information” is vague as to the subject of the
9    “information.”
10           28.     HSBC objects to Sub-Topic 8 insofar as it calls for a factual opinion on a
11   third-party document and therefore calls for speculation on a Federal Reserve system that
12   HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
13   obtained from another source that is “more convenient, less burdensome, [and] less
14   expensive”). HSBC further objects that “this information” is vague as to the subject of the
15   “information.”
16           29.     HSBC objects to Sub-Topic 9 insofar as it calls for a factual opinion on a
17   third-party document and therefore calls for speculation on a Federal Reserve system that
18   HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
19   obtained from another source that is “more convenient, less burdensome, [and] less
20   expensive”). HSBC further objects that “this information” is vague as to the subject of the
21   “information.” HSBC objects that Sub-Topic 9 does not define what “justification” is or
22   what “authorization” is, and what format does the “justification” or “authorization” need
23   to take.
24           30.     HSBC objects to Sub-Topic 10 insofar as it calls for a factual opinion on a
25   third-party document and therefore calls for speculation on a Federal Reserve system that
26   HSBC does not operate. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be
27   obtained from another source that is “more convenient, less burdensome, [and] less
28   expensive”).
                                                   8                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
     ACTIVE 686842550v5
        Case 3:22-cv-01101-WHA          Document 166-1     Filed 07/06/23   Page 93 of 154



1                     V.     OBJECTIONS TO SUB-TOPICS ON IMAD/OMAD
2            31.     HSBC objects to Sub-Topic 1 insofar as it calls for speculation about a
3    IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
4    generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
5    require HSBC to opine on a third-party system operated by the Federal Reserve. See Fed.
6    R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from another source that is
7    “more convenient, less burdensome, [and] less expensive”).
8            32.     HSBC objects to Sub-Topic 2 insofar as it calls for speculation about a
9    IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
10   generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
11   require HSBC to opine on a third-party system and whether a IMAD or OMAD number
12   be used for multiple transactions. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought
13   can be obtained from another source that is “more convenient, less burdensome, [and] less
14   expensive”).
15           33.     HSBC objects to Sub-Topic 3 insofar as it calls for speculation about a
16   IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
17   generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
18   require HSBC to opine on a third-party system and whether an IMAD or OMAD can
19   contain the exact same sequence. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought
20   can be obtained from another source that is “more convenient, less burdensome, [and] less
21   expensive”).
22           34.     HSBC objects to Sub-Topic 4 insofar as it calls for speculation about a
23   IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
24   generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
25   require HSBC to opine on a third-party system operated by the Federal Reserve and the
26   specific components of an IMAD or OMAD number. See Fed. R. Civ. P. 26(b)(2)(C)(i)
27   (information sought can be obtained from another source that is “more convenient, less
28   burdensome, [and] less expensive”).
                                                    9                       CASE NO. 3:22-cv-01101-WHA
                           NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1            35.     HSBC objects to Sub-Topic 5 insofar as it calls for speculation about a
2    IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
3    generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
4    require HSBC to opine on a third-party system operated by the Federal Reserve and the
5    origin of the specific components of an IMAD or OMAD number. See Fed. R. Civ. P.
6    26(b)(2)(C)(i) (information sought can be obtained from another source that is “more
7    convenient, less burdensome, [and] less expensive”).
8            36.     HSBC objects to Sub-Topic 6 insofar as it calls for speculation about a
9    IMAD or OMAD number. HSBC objects that the IMAD or OMAD number is a number
10   generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic would
11   require HSBC to opine on a third-party system operated by the Federal Reserve. See Fed.
12   R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from another source that is
13   “more convenient, less burdensome, [and] less expensive”).
14           37.     HSBC objects to Sub-Topic 7 insofar as it does not define what “similar”
15   IMAD or OMAD information is for purposes of conducting the search. For example, if an
16   IMAD or OMAD number contains a single digit that matches the subject IMAD or
17   OMAD numbers, is that a “similar” IMAD or OMAD numbers? The Request does not
18   identify what level of similarity, aside from a complete match of IMAD or OMAD
19   numbers, rises to the level of a “similar, identical, or additional transaction[] between
20   these parties, using similar…IMAD/OMAD information.”
21           38.     HSBC objects to Sub-Topic 8 insofar as it calls for speculation about an
22   IMAD or OMAD number, which is a number generated by the Federal Reserve system,
23   and not HSBC. Thus, the Sub-Topic would require HSBC to opine on a third-party
24   system operated by the Federal Reserve. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information
25   sought can be obtained from another source that is “more convenient, less burdensome,
26   [and] less expensive”).
27           39.     HSBC objects to Sub-Topic 9 to the extent it seeks responses about the
28   “IMAD/OMAD information,” but does not specify what subset of data in the various
                                                  10                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1    exhibits comprises the “IMAD/OMAD information,” e.g., a single digit of an
2    IMAD/OMAD number. HSBC objects to Sub-Topic 9 insofar as it calls for speculation
3    about prior use of an IMAD or OMAD number, which is a number generated by the
4    Federal Reserve system, and not HSBC. Thus, the Sub-Topic would require HSBC to
5    opine on a third-party system operated by the Federal Reserve and “IMAD/OMAD
6    information” associated with an IMAD or OMAD number. See Fed. R. Civ. P.
7    26(b)(2)(C)(i) (information sought can be obtained from another source that is “more
8    convenient, less burdensome, [and] less expensive”).
9            40.     HSBC objects to Sub-Topic 10 insofar as it calls for speculation about
10   “Sender/Receiver” information associated with an IMAD or OMAD number, which is a
11   number generated by the Federal Reserve system, and not HSBC. Thus, the Sub-Topic
12   would require HSBC to opine on a third-party system operated by the Federal Reserve and
13   the specific purpose of the IMAD or OMAD number. See Fed. R. Civ. P. 26(b)(2)(C)(i)
14   (information sought can be obtained from another source that is “more convenient, less
15   burdensome, [and] less expensive”). For example, Sub-Topic 10(a) requires information
16   on who the “sender” is, but requires HSBC to state definitively the parameters of the
17   Federal Reserve system software as it relates to that specific field.
18           41.     HSBC objects to Sub-Topic 11 insofar as it calls for speculation about access
19   levels /modifications on an IMAD or OMAD number, which is a number generated by the
20   Federal Reserve system, and not HSBC. Thus, the Sub-Topic would require HSBC to
21   opine on a third-party system operated by the Federal Reserve. See Fed. R. Civ. P.
22   26(b)(2)(C)(i) (information sought can be obtained from another source that is “more
23   convenient, less burdensome, [and] less expensive”). In addition, Sub-Topic 11 requires
24   HSBC to provide factual information about third parties, namely, “the Fed,” “the sender”
25   [which is not necessarily HSBC] or “receiver bank” [which is not necessarily HSBC], as
26   appropriate.
27           42.     HSBC objects to Sub-Topic 12 insofar as it calls for speculation about access
28   levels /modifications on an IMAD or OMAD number, which is a number generated by the
                                                  11                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
     ACTIVE 686842550v5
        Case 3:22-cv-01101-WHA          Document 166-1     Filed 07/06/23   Page 96 of 154



1    Federal Reserve system, and not HSBC. Thus, the Sub-Topic would require HSBC to
2    opine on a third-party system operated by the Federal Reserve. See Fed. R. Civ. P.
3    26(b)(2)(C)(i) (information sought can be obtained from another source that is “more
4    convenient, less burdensome, [and] less expensive”). In addition, Sub-Topic 12 requires
5    HSBC to provide factual information about third parties, namely, “the Fed,” “the sender,”
6    or “receiver bank”, as appropriate
7            43.      HSBC objects to Sub-Topic 13 insofar as it does not identify “the system”, as
8    to whether it is an HSBC system or a Fed system. HSBC objects to Sub-Topic 13 insofar
9    as it does not identify or define what is an “audit trail,” and which “system” the “audit
10   trail” refers to. HSBC objects to Sub-Topic 12 insofar as it calls for speculation about
11   “audit trails” on an IMAD or OMAD number. HSBC objects that the IMAD or OMAD
12   number is a number generated by the Federal Reserve system, and not HSBC. See Fed. R.
13   Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from another source that is
14   “more convenient, less burdensome, [and] less expensive”).
15           44.      HSBC to Sub-Topic 14 objects insofar as it does not clearly delineate which,
16   if any, “records” need to be checked. Nor does it define any criteria by which to judge if
17   “records [are] related to the information in the Exhibits.” HSBC objects to Sub-Topic 14
18   insofar as it calls for HSBC’s opinion on a third-party document generated by the Federal
19   Reserve. See Fed. R. Civ. P. 26(b)(2)(C)(i) (information sought can be obtained from
20   another source that is “more convenient, less burdensome, [and] less expensive”). HSBC
21   objects that the Sub-Topic 14 calls for a legal conclusion on a set of hypothetical
22   accusations of alteration, destruction and deletion.
23              VI.       OBJECTIONS TO ADDITIONAL DOCUMENT REQUESTS
24                                            (SUBPOENA, P. 10).
25           45.      HSBC objects to the scope of “records” that may be “related” to a wire
26   transfer. Read literally, it could encompass every document relating to HSBC’s wire
27   transfer system.
28           46.      To the extent that a Court does not sustain these objections, HSBC requests
                                                   12                       CASE NO. 3:22-cv-01101-WHA
                           NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1    that it be protected from significant expense resulting from compliance. See Fed. R. Civ.
2    P. 45(d)(2)(B).
3
4    DATED: April 28, 2023                     GREENBERG TRAURIG, LLP
5
6                                          By /s/ Rick L. Shackelford
                                             Rick L. Shackelford
7                                            Attorneys for HSBC Bank USA, N.A.
8
     Of Counsel:
9
     John L. McManus
10   Florida Bar No. 0119423
     Email: mcmanusj@gtlaw.com
11   GREENBERG TRAURIG, P.A.
     401 East Las Olas Boulevard
12   Suite 2000
     Fort Lauderdale, Florida 33301
13   Tel: (954) 768-8291/Fax: (954) 765-1477
14
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                                                  13                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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1                                        PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF CALIFORNIA:
3            I am employed in the aforesaid county, State of California; I am over the age of 18
4    years and not a party to the within action; my business address is 1840 Century Park East,
5    Suite 1900, Los Angeles, California 90067-2121.
6            On April 28, 2023 I served the NON-PARTY HSBC BANK USA, N.A.’S
7    OBJECTIONS TO SUBPOENA, on the interested parties, addressed as follows:
8                                 SEE ATTACHED SERVICE LIST
9          (BY MAIL)
10              I deposited such envelope in the mail at Los Angeles, California. The envelope
                was mailed with postage thereon fully prepaid.
11              I am readily familiar with the business practice of my place of employment in
                respect to the collection and processing of correspondence, pleadings and
12              notices for mailing with United States Postal Service. The foregoing sealed
                envelope was placed for collection and mailing this date consistent with the
13              ordinary business practice of my place of employment, so that it will be picked
                up this date with postage thereon fully prepaid at Los Angeles, California, in the
14              ordinary course of such business.
15         (BY ELECTRONIC MAIL)
            I served the above-mentioned document electronically on the parties listed at the
16          email addresses above and, to the best of my knowledge, the transmission was
17          complete and without error in that I did not receive an electronic notification to the
            contrary.
18
             I declare under penalty of perjury that the foregoing is true and correct, and that I
19
     am employed at the office of a member of the bar of this Court at whose direction the
20
     service was made.
21
22           Executed on April 28, 2023, at Los Angeles, California.
23
                                                     ___________________________
24                                                         Rosa Irajpanah
25
26
27
28
                                                  14                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
     ACTIVE 686842550v5
        Case 3:22-cv-01101-WHA         Document 166-1     Filed 07/06/23   Page 99 of 154



1                                            SERVICE LIST
2
     David Azar, Esq.                                K. Winn Allen, P.C., Esq.
3    MILBERG COLEMAN BRYSON                          Devin S. Anderson, Esq.
     PHILLIPS GROSSMAN PLLC                          KIRKLAND & ELLIS, LLP
4    280 S. Beverly Drive, Suite PH                  1301 Pennsylvania Avenue, N.W.
     Beverly Hills, CA 90212                         Washington, D.C. 20004
5    dazar@milberg.com                               winn.allen@kirkland.com
                                                     devin.anderson@kirkland.com
6
     Shon Morgan, Esq.                               Michael P. Esser, Esq.
7    QUINN EMANUEL URQUHART                          KIRKLAND & ELLIS LLP
     & SULLIVAN, LLP                                 555 California Street
8    865 South Figueroa Street                       San Francisco, CA 9401
     10th Floor                                      Michael.esser@kirkland.com
9    Los Angeles, CA 90017
     shonmorgan@quinnemanuel.com                     John P. Hannon, Esq.
10                                                   KIRKLAND & ELLIS LLP
     Victoria B. Parker, Esq.                        60 East South Temple
11   QUINN EMANUEL URQUHART                          Salt Lake City, UT 84111
     & SULLIVAN, LLP                                 John.hannon@kirkland.com
12   50 California Street
     22nd Floor
13   San Francisco, CA 94111
     vickiparker@quinnemanuel.com
14
     John F. O’Sullivan, Esq.
15   Jason D. Sternberg, Esq.
     Joshua T. Fordin, Esq.
16   QUINN EMANUEL URQUHART
     & SULLIVAN, LLP
17   2601 South Bayshore Drive
     15th Floor
18   Miami, Florida 33133
     johnosullivan@quinnemanuel.com
19   jasonsternberg@quinnemanuel.com
     joshuafordin@quinnemanuel.com
20
21
22
23
24
25
26
27
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                                                  15                       CASE NO. 3:22-cv-01101-WHA
                          NON-PARTY HSBC BANK USA, N.A.’S OBJECTIONS TO SUBPOENA
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           EXHIBIT 8
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     MILBERG COLEMAN BRYSON
 1   PHILLIPS GROSSMAN PLLC
 2   DAVID E. AZAR (SBN 218319)
     280 S. Beverly Drive, Suite PH
 3   Beverly Hills, California 90212
     Telephone: 1-866-252-0878
 4   dazar@milberg.com
 5
     EMERGE LAW GROUP, P.C.
 6   Timothy L. Alger (SBN 160303)
     100 Spectrum Center Drive, Suite 900
 7   Irvine, California 92618
     Telephone: 949-936-2610
 8   tim@emergelawgroup.com
 9
     Plaintiffs’ Attorneys
10

11
                               UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13
      DAWN DANGAARD, a/k/a ALANA
14    EVANS, KELLY                                 CASE NO. 3:22-CV-01101-WHA
      GILBERT, a/k/a KELLY PIERCE,
15
      JENNIFER ALLBAUGH, a/k/a RUBY,
16    on behalf of themselves and all              PLAINTIFFS’ OBJECTIONS AND
      others similarly situated,                   RESPONSES TO DEFENDANTS
17                                                 INSTAGRAM, LLC, FACEBOOK
                                 Plaintiffs,       OPERATIONS, LLC, AND META
18            v.                                   PLATFORMS, INC.’S FIRST SET OF
                                                   REQUESTS FOR PRODUCTION OF
19
                                                   DOCUMENTS (ISSUED PURSUANT
20    FENIX INTERNET LLC, FENIX                    TO MARCH 29, 2023 ORDER)
      INTERNATIONAL INC., META
21    PLATFORMS, INC., INSTAGRAM,
      LLC, FACEBOOK OPERATIONS, LLC,
22    LEONID RADVINSKY, and JOHN
      DOES 1-10,
23

24                              Defendants.
                                  .
25

26

27                                             1
       PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
     OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                         DOCUMENTS
                                  CASE NO. 3:22-CV-01101-WHA
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 1          Pursuant to Federal Rules of Civil Procedure 26 and 34, the applicable Civil Local Rules

 2   of the United States District Court for the Northern District of California, and the rules and orders

 3   of the Court, Plaintiffs hereby respond and object to Defendants Instagram, LLC, Facebook

 4   Operations, LLC, and Meta Platforms, Inc.’s First Set of Requests for Production of Documents

 5   to Plaintiffs, dated April 5, 2023, as follows:

 6                                    PRELIMINARY STATEMENT

 7          For Defendants’ request for documents that are currently within Plaintiffs’ possession or

 8   control, Plaintiffs make the following Objections and Responses on the basis of information that

 9   is presently known and available to Plaintiffs and Plaintiffs’ attorneys of record.

10                                       DOCUMENT REQUESTS

11   REQUEST FOR PRODUCTION NO. 1:

12          All Documents and Communications, including any alleged bank or wire-transfer records,

13   relating to any alleged bribes or payments sent from anybody associated with OnlyFans to Meta

14   or any of Meta’s employees, agents, executives, or representatives, including but not limited to

15   Nicholas Clegg, Nicola Mendelsohn, or Cristian Perrella.

16   RESPONSE:

17          Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

18   limiting the scope of discovery, and it is otherwise improper. On March 30, 2023, the Court

19   entered a Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of

20   document requests regarding any evidence of bribe.” (underline in original; emphasis added).

21          Plaintiffs will produce any “evidence” of a bribe -- with evidence meaning "Something

22   (including testimony, documents and tangible objects) that tends to prove or disprove the existence

23   of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States

24   District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

25          As to documents “relating to” that evidence, Plaintiffs object that it is overbroad and

26   improper as phrased. Plaintiffs believe a reasonable interpretation of this request is that it pertains

27                                                     2
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1   to documents and communications that do not include communications with opposing counsel in

 2   this litigation or documents or communications of what would be subject to attorney client or work

 3   product privilege such as between or among Plaintiffs’ counsel, their staff, clients, or consulting

 4   experts. To the extent that the request intends to include such documents, including of such

 5   communications, Plaintiffs object to the request as overbroad and improper, including because it

 6   seeks documents protected by attorney-client privilege and/or work product doctrine. As phrased,

 7   this Request could seek documents and communications that reflect the legal advice and legal

 8   strategies prepared for anticipated or pending litigation by Plaintiffs’ attorneys and consulting

 9   experts. Certain of the requested documents are protected under the work product doctrine as they

10   include information from counsel’s mental impressions and legal conclusions and consulting

11   experts. To the extent that Defendants are requesting production of documents (including of

12   communications) related to Plaintiffs’ counsel’s investigation of the alleged bribes, such an

13   unlimited scope contradicts the work product privilege position taken to date by Meta Defendants

14   as to facts and other information obtained from their internal investigation(s), and Plaintiffs

15   therefore assert a reciprocal objection identical to the scope of that asserted by the Meta Defendants

16   pending the Court’s adjudication of the issue of the extent to which Meta Defendants must provide

17   facts from its internal investigation. Plaintiffs expect that if any such documents are produced

18   pursuant to agreement by the Parties, then Defendants shall agree to the same scope of discovery

19   for any documents relating to their own investigation regarding the alleged wrongful conduct

20   alleged in this action. Plaintiffs interpret the time period as pertaining to the scope of discovery

21   related to the operative complaint; to the extent a different time period is intended, Plaintiffs further

22   object that this request is not limited to a reasonable time period.

23           Subject to and without waiving these objections, Plaintiffs will produce any responsive

24   documents that are within the scope of the Court’s Order, are not privileged, and do not constitute

25   attorney work product. To the extent this Request calls for documents protected by attorney work

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27                                                      3
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1   product, Plaintiffs are willing to meet and confer with Defendants at a mutually agreeable time

 2   and place concerning the scope of this Request.

 3   REQUEST FOR PRODUCTION NO. 2:

 4          All Documents and Communications relating to or supporting (1) Plaintiffs’ allegations

 5   about the existence of “wire transfers … from a Smart Team account at HSBC, a Hong Kong bank,

 6   to three trust accounts at the Philippine Bank of Communications (“PBCOM”), each benefiting

 7   individuals with high positions at Meta”; (2) the allegations that “Smart Team made transfers to

 8   ‘Nicola Mendelsohn Trust’ at PBCOM in five transactions between 2017 and 2019,” “made

 9   several transfers to ‘Cristian Peralta Trust’ at PBCOM in 2018,” and “made a transfer to a Trust

10   account at PBCOM                                                 ”; (3) the allegation that the Fenix

11   Defendants “used Smart Team International Business Limited Hong Kong to make the scheme-

12   facilitating payments”; and (4) the allegation that Plaintiffs have “[d]ocumentation of wire

13   transfers, also received through the tip line, of sums of money from entities associated with Fenix

14   and Radvinsky to executives at Meta,” as alleged in ¶¶ 2(c), 10(b), 76, 79, and 81–84 of the

15   Complaint.

16   RESPONSE:

17          Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

18   limiting the scope of discovery, and it is otherwise improper. On March 30, 2023, the Court

19   entered a Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of

20   document requests regarding any evidence of bribe.” (underline in original; emphasis added).

21          Plaintiffs will produce any “evidence” of a bribe, including any evidence of or supporting

22   any of the 4 subparts of this Request -- with evidence meaning "Something (including testimony,

23   documents and tangible objects) that tends to prove or disprove the existence of an alleged fact."

24   Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States District Court for the

25   Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

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27                                                     4
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1           As to documents “relating to” that evidence, Plaintiffs object that it is overbroad and

 2   improper as phrased. Plaintiffs believe a reasonable interpretation of this request is that it pertains

 3   to documents and communications that do not include communications with opposing counsel in

 4   this litigation or documents or communications of what would be subject to attorney client or work

 5   product privilege such as between or among Plaintiffs’ counsel, their staff, clients, or consulting

 6   experts. To the extent that the request intends to include such documents, including of such

 7   communications, Plaintiffs object to the request as overbroad and improper, including because it

 8   seeks documents protected by attorney-client privilege and/or work product doctrine. As phrased,

 9   this Request could seek documents and communications that reflect the legal advice and legal

10   strategies prepared for anticipated or pending litigation by Plaintiffs’ attorneys and consulting

11   experts. Certain of the requested documents are protected under the work product doctrine as they

12   include information from counsel’s mental impressions and legal conclusions and consulting

13   experts. To the extent that Defendants are requesting production of documents (including of

14   communications) related to Plaintiffs’ counsel’s investigation of the alleged bribes, such an

15   unlimited scope contradicts the work product privilege position taken to date by Meta Defendants

16   as to facts and other information obtained from their internal investigation(s), and Plaintiffs

17   therefore assert a reciprocal objection identical to the scope of that asserted by the Meta Defendants

18   pending the Court’s adjudication of the issue of the extent to which Meta Defendants must provide

19   facts from its internal investigation. Plaintiffs expect that if any such documents are produced

20   pursuant to agreement by the Parties, then Defendants shall agree to the same scope of discovery

21   for any documents relating to their own investigation regarding the alleged wrongful conduct

22   alleged in this action. Plaintiffs interpret the time period as pertaining to the scope of discovery

23   related to the operative complaint; to the extent a different time period is intended, Plaintiffs further

24   object that this request is not limited to a reasonable time period.

25           Subject to and without waiving these objections, Plaintiffs will produce any responsive

26   documents that are within the scope of the Court’s Order, are not privileged, and do not constitute

27                                                      5
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
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 1   attorney work product. To the extent this Request calls for documents protected by attorney work

 2   product, Plaintiffs are willing to meet and confer with Defendants at a mutually agreeable time

 3   and place concerning the scope of this Request.

 4   REQUEST FOR PRODUCTION NO. 3:

 5          All Documents and Communications related to the Follow the Money Email, including

 6   those documents sufficient to identify the individual(s) who provided the Follow the Money Email

 7   to You, the provenance of the Follow the Money Email, any investigation or analysis You

 8   conducted to identify the sender or to authenticate or verify the information contained therein, and

 9   any Communications with the attorney who reviewed the Follow the Money Email in ¶¶ 2(c), (d)

10   of the Complaint.

11   RESPONSE:

12          Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

13   limiting the scope of discovery, it is vague and compound such that it is almost impossible to

14   understand, and it is otherwise improper. On March 30, 2023, the Court entered a Minute Order

15   (Doc. 143) stating in part that “Meta may serve a reasonable set of document requests regarding

16   any evidence of bribe.” (underline in original; emphasis added).

17          Plaintiffs will produce any “evidence” of a bribe including any of the transactions or

18   information in the Follow the Money email -- with evidence meaning "Something (including

19   testimony, documents and tangible objects) that tends to prove or disprove the existence of an

20   alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States District

21   Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

22          As to documents “relating to” the Follow the Money Email, Plaintiffs object that it is

23   overbroad and improper as phrased. Plaintiffs believe a reasonable interpretation of this request is

24   that it pertains to documents and communications that do not include communications with

25   opposing counsel in this litigation or documents or communications of what would be subject to

26   attorney client or work product privileged such as between or among Plaintiffs’ counsel, their staff,

27                                                     6
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
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 1   clients, or consulting experts. To the extent that the request intends to include such documents,

 2   including of such communications, Plaintiffs object to the request as overbroad and improper,

 3   including because it seeks documents protected by attorney-client privilege and/or work product

 4   doctrine. As phrased, this Request could seek documents and communications that reflect the legal

 5   advice and legal strategies prepared for anticipated or pending litigation by Plaintiffs’ attorneys

 6   and consulting experts. Further, Plaintiffs object that the requested documents are protected under

 7   the work product doctrine as they include information from counsel’s mental impressions and legal

 8   conclusions and consulting experts. To the extent that Defendants are requesting production of

 9   documents (including of communications) related to Plaintiffs’ counsel’s investigation of the

10   alleged bribes, such an unlimited scope contradicts the work product privilege position taken to

11   date by Meta Defendants as to facts and other information obtained from their internal

12   investigation(s), and Plaintiffs therefore assert a reciprocal objection identical to the scope of that

13   asserted by the Meta Defendants pending the Court’s adjudication of the issue of the extent to

14   which Meta Defendants must provide facts from its internal investigation. Plaintiffs expect that if

15   any such documents are produced pursuant to agreement by the Parties, then Defendants shall

16   agree to the same scope of discovery for any documents relating to their own investigation

17   regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret the time period

18   as pertaining to the scope of discovery related to the operative complaint; to the extent a different

19   time period is intended, Plaintiffs further object that this request is not limited to a reasonable time

20   period.

21             Subject to and without waiving these objections, Plaintiffs respond to this Request as

22   follows: Plaintiffs have no documents sufficient to identify the individual(s) who provided the

23   Follow the Money Email beyond the email itself and no documents about the provenance of the

24   Follow the Money Email other than the FedPayments Manager records attached to the bank

25   subpoenas and thus already in Meta Defendants’ possession. Plaintiffs have no unprivileged

26   documents of any investigation or analysis Plaintiffs conducted to identify the sender or to

27                                                      7
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
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 1   authenticate or verify the information contained therein.          Finally, as the request for “any

 2   Communications with the attorney who reviewed the Follow the Money Email,” the complaint did

 3   not allege that the attorney reviewed that email, and thus there are no responsive documents.

 4   REQUEST FOR PRODUCTION NO. 4:

 5           All Documents and Communications related to the “FedPayments Manager” document

 6   presented in the March 29, 2023 hearing by Plaintiffs’ counsel to Judge Alsup in the United States

 7   District Court of Northern California, including those documents sufficient to identify the

 8   individual(s) who provided the “FedPayments Manager” document to You, the provenance of the

 9   “FedPayments Manager” document Email, and any investigation or analysis You conducted to

10   authenticate or verify the information contained therein.

11   RESPONSE:

12           Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

13   limiting the scope of discovery, it is vague and compound such that it is almost impossible to

14   understand, and it is otherwise improper. On March 30, 2023, the Court entered a Minute Order

15   (Doc. 143) stating in part that “Meta may serve a reasonable set of document requests regarding

16   any evidence of bribe.” (underline in original; emphasis added).

17           Plaintiffs will produce any “evidence” of a bribe including -- with evidence meaning

18   "Something (including testimony, documents and tangible objects) that tends to prove or disprove

19   the existence of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United

20   States District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

21           As to Documents (including those of Communications) “relating to” the Follow the Money

22   Email, Plaintiffs object that it is overbroad and improper as phrased. Plaintiffs believe a reasonable

23   interpretation of this request is that it pertains to documents and communications that do not

24   include communications with opposing counsel in this litigation or documents or communications

25   of what would be subject to attorney client or work product privilege such as between or among

26   Plaintiffs’ counsel, their staff, clients, or consulting experts. To the extent that the request intends

27                                                      8
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
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 1   to include such documents, including of such communications, Plaintiffs object to the request as

 2   overbroad and improper, including because it seeks documents protected by attorney-client

 3   communications that reflect the legal advice and legal strategies prepared for anticipated or

 4   pending litigation by Plaintiffs’ attorneys and consulting experts. Certain of the requested

 5   documents are protected under the work product doctrine as they include information from

 6   counsel’s mental impressions and legal conclusions and consulting experts. To the extent that

 7   Defendants are requesting production of documents (including of communications) related to

 8   Plaintiffs’ counsel’s investigation of the alleged bribes, such an unlimited scope contradicts the

 9   work product privilege position taken to date by Meta Defendants as to facts and other information

10   obtained from their internal investigation(s), and Plaintiffs therefore assert a reciprocal objection

11   identical to the scope of that asserted by the Meta Defendants pending the Court’s adjudication of

12   the issue of the extent to which Meta Defendants must provide facts from its internal investigation.

13   Plaintiffs expect that if any such documents are produced pursuant to agreement by the Parties,

14   then Defendants shall agree to the same scope of discovery for any documents relating to their

15   own investigation regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret

16   the time period as pertaining to the scope of discovery related to the operative complaint; to the

17   extent a different time period is intended, Plaintiffs further object that this request is not limited to

18   a reasonable time period.

19           Subject to and without waiving these objections, Plaintiffs respond to this Request as

20   follows:    Plaintiffs have no documents identifying the individual(s) who provided the

21   “FedPayments Manager” document beyond the document itself and no documents about the

22   provenance of the “FedPayments Manager” document other than the FedPayments Manager

23   records attached to the bank subpoenas and thus already in Meta Defendants’ possession. Plaintiffs

24   have no unprivileged documents of any investigation or analysis Plaintiffs conducted to identify

25   the sender or to authenticate or verify the information contained therein, other than the subpoeans

26   they have served and thus already in Meta Defendants’ possession.

27                                                      9
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   REQUEST FOR PRODUCTION NO. 5:

 2          All Documents and Communications sufficient to identify the sources who provided You

 3   any information concerning alleged bribes or payments sent from anybody associated with

 4   OnlyFans to Meta or any of Meta’s employees, agents, executives, or representatives, including

 5   but not limited to Nicholas Clegg, Nicola Mendelsohn, or Cristian Perrella.

 6   RESPONSE:

 7          Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

 8   limiting the scope of discovery, it duplicates a prior request, it is vague and ambiguous in seeking

 9   “all” documents “sufficient to identify,” and it is otherwise improper. On March 30, 2023, the

10   Court entered a Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of

11   document requests regarding any evidence of bribe.” (underline in original; emphasis added).

12          Plaintiffs will produce any “evidence” of a bribe including -- with evidence meaning

13   "Something (including testimony, documents and tangible objects) that tends to prove or disprove

14   the existence of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United

15   States District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

16          Plaintiffs believe a reasonable interpretation of this request is that it pertains to documents

17   and communications that do not include communications with opposing counsel in this litigation

18   or documents or communications of what would be subject to attorney client or work product

19   privilege such as between or among Plaintiffs’ counsel, their staff, clients, or consulting experts.

20   To the extent that the request intends to include such documents, including of such

21   communications, Plaintiffs object to the request as overbroad and improper, including because it

22   seeks documents protected by attorney-client privilege and the work product doctrine that reflect

23   the legal advice and legal strategies prepared for anticipated or pending litigation by Plaintiffs’

24   attorneys and consulting experts. Certain of the requested documents are protected under the work

25   product doctrine as they include information from counsel’s mental impressions and legal

26   conclusions and consulting experts. To the extent that Defendants are requesting production of

27                                                    10
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
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 1   documents (including of communications) related to Plaintiffs’ counsel’s investigation of the

 2   alleged bribes, such an unlimited scope contradicts the work product privilege position taken to

 3   date by Meta Defendants as to facts and other information obtained from their internal

 4   investigation(s), and Plaintiffs therefore assert a reciprocal objection identical to the scope of that

 5   asserted by the Meta Defendants pending the Court’s adjudication of the issue of the extent to

 6   which Meta Defendants must provide facts from its internal investigation. Plaintiffs expect that if

 7   any such documents are produced pursuant to agreement by the Parties, then Defendants shall

 8   agree to the same scope of discovery for any documents relating to their own investigation

 9   regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret the time period

10   as pertaining to the scope of discovery related to the operative complaint; to the extent a different

11   time period is intended, Plaintiffs further object that this request is not limited to a reasonable time

12   period.

13             Subject to and without waiving these objections, Plaintiffs will produce any responsive

14   documents that are within the scope of the Court’s Order, are not privileged, and do not constitute

15   attorney work product. To the extent this Request calls for documents protected by attorney work

16   product, Plaintiffs are willing to meet and confer with Defendants at a mutually agreeable time

17   and place concerning the scope of this Request.

18   REQUEST FOR PRODUCTION NO. 6:

19             All Documents and Communications relating to any investigation You conducted related

20   to the reliability of the sources that provided You information regarding alleged bribes and/or Your

21   efforts to authenticate or verify any information provided to You containing allegations of alleged

22   bribes or payments sent from anybody associated with Only Fans to anyone associated with Meta.

23   RESPONSE:

24             Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

25   limiting the scope of discovery, it is vague and ambiguous to the point of being nearly impossible

26   to understand, and it is otherwise improper. On March 30, 2023, the Court entered a Minute Order

27                                                     11
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   (Doc. 143) stating in part that “Meta may serve a reasonable set of document requests regarding

 2   any evidence of bribe.” (underline in original; emphasis added).

 3          Plaintiffs will produce any “evidence” of a bribe including -- with evidence meaning

 4   "Something (including testimony, documents and tangible objects) that tends to prove or disprove

 5   the existence of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United

 6   States District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

 7          Plaintiffs believe a reasonable interpretation of this request is that it pertains to documents

 8   and communications that do not include communications with opposing counsel in this litigation

 9   or documents or communications of what would be subject to attorney client or work product

10   privilege such as between or among Plaintiffs’ counsel, their staff, clients, or consulting experts.

11   To the extent that the request intends to include such documents, including of such

12   communications, Plaintiffs object to the request as overbroad and improper, including because it

13   seeks documents protected by attorney-client privilege and the work product doctrine that reflect

14   the legal advice and legal strategies prepared for anticipated or pending litigation by Plaintiffs’

15   attorneys and consulting experts. Certain of the requested documents are protected under the work

16   product doctrine as they include information from counsel’s mental impressions and legal

17   conclusions and consulting experts. To the extent that Defendants are requesting production of

18   documents (including of communications) related to Plaintiffs’ counsel’s investigation of the

19   alleged bribes, such an unlimited scope contradicts the work product privilege position taken to

20   date by Meta Defendants as to facts and other information obtained from their internal

21   investigation(s), and Plaintiffs therefore assert a reciprocal objection identical to the scope of that

22   asserted by the Meta Defendants pending the Court’s adjudication of the issue of the extent to

23   which Meta Defendants must provide facts from its internal investigation. Plaintiffs expect that if

24   any such documents are produced pursuant to agreement by the Parties, then Defendants shall

25   agree to the same scope of discovery for any documents relating to their own investigation

26   regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret the time period

27                                                     12
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   as pertaining to the scope of discovery related to the operative complaint; to the extent a different

 2   time period is intended, Plaintiffs further object that this request is not limited to a reasonable time

 3   period.

 4             Subject to and without waiving these objections, Plaintiffs have no unprivileged documents

 5   of any investigation or analysis Plaintiffs conducted to identify the sender or to authenticate or

 6   verify the information contained therein, other than the subpoeans they have served and thus

 7   already in Meta Defendants’ possession.

 8   REQUEST FOR PRODUCTION NO. 7:

 9             All Documents and Communications relating to Richard Bamberger, including all

10   Communications between Richard Bamberger and You, and all Communications between Richard

11   Bamberger and any member of the press or media, that concern any alleged bribes or payments

12   sent from anybody associated with OnlyFans to Meta or any of Meta’s employees, agents,

13   executives, or representatives, including but not limited to Nicholas Clegg, Nicola Mendelsohn, or

14   Cristian Perrella.

15   RESPONSE:

16             Plaintiffs object that the request as phrased is overbroad, disregards the Court’s Order

17   limiting the scope of discovery, and otherwise improper. On March 30, 2023, the Court entered a

18   Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of document

19   requests regarding any evidence of bribe.” (underline in original; emphasis added). A demand for

20   “[a]ll Documents and Communications relating to Richard Bamberger” is wildly overbroad,

21   burdensome and intrusive, seeks documents that are irrelevant, and is inconsistent with the Court’s

22   expressed purpose of discovery at this point in the case.

23             Plaintiffs will produce any “evidence” of a bribe, with evidence meaning "Something

24   (including testimony, documents and tangible objects) that tends to prove or disprove the existence

25   of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States

26   District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

27                                                     13
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1          Plaintiffs object that all documents and communications between Richard Bamberger and

 2   any member of the press or media concerning the alleged bribes is overbroad because it is not

 3   limited to “evidence” of a bribe. Further, as to Documents (including those of Communications)

 4   “relating to Richard Bamberger, including all Communications between Richard Bamberger and

 5   You,” Plaintiffs object that it is overbroad and improper as phrased. Richard Bamberger is a

 6   consulting expert to Plaintiffs’ counsel, and thus the only potentially responsive documents would

 7   be of communications between Bamberger and any member of the press or media or other third

 8   party regarding evidence of a bribe (such as the email already produced from Wired to Bamberger

 9   that attached a partial transcript of an alleged internal Meta document). Accordingly, Plaintiffs

10   believe a reasonable interpretation of this request is that it pertains to documents and

11   communications that do not include communications of what would be subject to work product or

12   attorney client privilege. To the extent that the request intends to include such documents,

13   including of such communications, Plaintiffs object to the request as overbroad and improper,

14   including because it seeks documents protected by attorney-client privilege and/or work product

15   doctrine. As phrased, this Request could seek documents and communications that reflect the legal

16   advice and legal strategies prepared for anticipated or pending litigation by Plaintiffs’ attorneys

17   and consulting experts. Further, Plaintiffs object that the requested documents are protected under

18   the work product doctrine as they include information from counsel’s mental impressions and legal

19   conclusions and consulting experts. To the extent that Defendants are requesting production of

20   documents (including of communications) related to Plaintiffs’ counsel’s investigation of the

21   alleged bribes, such an unlimited scope contradicts the work product privilege position taken to

22   date by Meta Defendants as to facts and other information obtained from their internal

23   investigation(s), and Plaintiffs therefore assert a reciprocal objection identical to the scope of that

24   asserted by the Meta Defendants pending the Court’s adjudication of the issue of the extent to

25   which Meta Defendants must provide facts from its internal investigation. Plaintiffs expect that if

26   any such documents are produced pursuant to agreement by the Parties, then Defendants shall

27                                                     14
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   agree to the same scope of discovery for any documents relating to their own investigation

 2   regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret the time period

 3   as pertaining to the scope of discovery related to the operative complaint; to the extent a different

 4   time period is intended, Plaintiffs further object that this request is not limited to a reasonable time

 5   period.

 6             Subject to and without waiving these objections, Plaintiffs respond to this Request as

 7   follows: Plaintiffs will produce any responsive documents between Richard Bamberger and any

 8   member of the press or media regarding any evidence of bribe.

 9   REQUEST FOR PRODUCTION NO. 8:

10             All Documents and Communications exchanged between You and any member of the press

11   or media—including but not limited to, Dell Cameron and any reporter associated with WIRED,

12   Gizmodo, Forensic News, or the BBC,—relating to alleged bribes or payments sent from anybody

13   associated with OnlyFans to Meta or any of Meta’s employees, agents, executives, or

14   representatives, including but not limited to the source or provenance of the Documents Plaintiffs

15   filed at ECF No. 138.

16   RESPONSE:

17             Plaintiffs object that the request as phrased is overbroad, disregards the Court’s Order

18   limiting the scope of discovery, and otherwise improper. On March 30, 2023, the Court entered a

19   Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of document

20   requests regarding any evidence of bribe.” (underline in original; emphasis added).

21             Plaintiffs will produce any “evidence” of a bribe, with evidence meaning "Something

22   (including testimony, documents and tangible objects) that tends to prove or disprove the existence

23   of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States

24   District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

25             Plaintiffs object that all documents and communications between Plaintiffs “and any

26   member of the press or media” “relating to alleged bribes or payments” is overbroad because it is

27                                                     15
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   not limited to “evidence” of a bribe. It would include, for example, forwarding a copy of the

 2   complaint or a court filing to a member of the media or a request for comment about the case.

 3   Plaintiffs believe a reasonable interpretation of this request is that it pertains to documents and

 4   communications that do not include communications of what would be subject to work product or

 5   attorney client privilege. To the extent that the request intends to include such documents,

 6   including of such communications, Plaintiffs object to the request as overbroad and improper. To

 7   the extent that Defendants are requesting production of documents (including of communications)

 8   related to Plaintiffs’ counsel’s investigation of the alleged bribes, such an unlimited scope

 9   contradicts the work product privilege position taken to date by Meta Defendants as to facts and

10   other information obtained from their internal investigation(s), and Plaintiffs therefore assert a

11   reciprocal objection identical to the scope of that asserted by the Meta Defendants pending the

12   Court’s adjudication of the issue of the extent to which Meta Defendants must provide facts from

13   its internal investigation. Plaintiffs expect that if any such documents are produced pursuant to

14   agreement by the Parties, then Defendants shall agree to the same scope of discovery for any

15   documents relating to their own investigation regarding the alleged wrongful conduct alleged in

16   this action. Plaintiffs interpret the time period as pertaining to the scope of discovery related to

17   the operative complaint; to the extent a different time period is intended, Plaintiffs further object

18   that this request is not limited to a reasonable time period.

19          Subject to and without waiving these objections, Plaintiffs respond to this Request as

20   follows: Plaintiffs will produce any responsive non-privileged documents constituting evidence of

21   a bribe exchanged between them and any member of the press or media.

22   REQUEST FOR PRODUCTION NO. 9:

23          All Communications with any bank, including but not limited to HSBC Bank, Barclay’s

24   Bank, PBCOM, or any Federal Reserve bank, alleged to been involved in alleged wire transfers of

25   bribes to Meta or any of its employees, agents, executives, or representatives, including but not

26   limited to Nicholas Clegg, Nicola Mendelsohn, or Cristian Perrella.

27                                                     16
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   RESPONSE:

 2          Plaintiffs object that the request as phrased is overbroad, disregards the Court’s Order

 3   limiting the scope of discovery, and otherwise improper. On March 30, 2023, the Court entered a

 4   Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of document

 5   requests regarding any evidence of bribe.” (underline in original; emphasis added).

 6          Plaintiffs will produce any “evidence” of a bribe, with evidence meaning "Something

 7   (including testimony, documents and tangible objects) that tends to prove or disprove the existence

 8   of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States

 9   District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

10          A different request already requests any productions from the subpoenas issued to any of

11   the banks identified in the request. Plaintiffs object that all communications between Plaintiffs

12   “and any bank . . . alleged to been involved in alleged wire transfers of bribes to Meta” is overbroad

13   because it is not limited to “evidence” of a bribe. It would extend, for example, to a communication

14   asking for confirmation of a location for service of process, or other communications that have no

15   substantive nexus to a bribe. Plaintiffs believe a reasonable interpretation of this request is that it

16   pertains only to communications about the alleged bribes in this case (as opposed to other

17   communications with those banks on unrelated matters), and that it pertains to documents and

18   communications that do not include communications of what would be subject to work product or

19   attorney client privilege. To the extent that the request intends to include such documents,

20   including of such communications, Plaintiffs object to the request as overbroad and improper,

21   including because it seeks documents protected by attorney-client privilege and/or work product

22   doctrine. To the extent that Defendants are requesting production of documents (including of

23   communications) related to Plaintiffs’ counsel’s investigation of the alleged bribes, such an

24   unlimited scope contradicts the work product privilege position taken to date by Meta Defendants

25   as to facts and other information obtained from their internal investigation(s), and Plaintiffs

26   therefore assert a reciprocal objection identical to the scope of that asserted by the Meta Defendants

27                                                     17
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
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 1   pending the Court’s adjudication of the issue of the extent to which Meta Defendants must provide

 2   facts from its internal investigation. Plaintiffs expect that if any such documents are produced

 3   pursuant to agreement by the Parties, then Defendants shall agree to the same scope of discovery

 4   for any documents relating to their own investigation regarding the alleged wrongful conduct

 5   alleged in this action. Plaintiffs interpret the time period as pertaining to the scope of discovery

 6   related to the operative complaint; to the extent a different time period is intended, Plaintiffs further

 7   object that this request is not limited to a reasonable time period.

 8             Subject to and without waiving these objections, Plaintiffs respond to this Request as

 9   follows: Plaintiffs will produce any responsive non-privileged documents constituting evidence of

10   a bribe in any communication with them and any of the banks referenced in the request; at this

11   time, Plaintiffs have no such responsive documents.

12   REQUEST FOR PRODUCTION NO. 10:

13             All Documents and Communications concerning the alleged intermediary for bribe

14   payments, Smart Team International, including any investigation or analysis You conducted to

15   determine whether Smart Team International is associated with any of the defendants in this

16   matter.

17   RESPONSE:

18             Plaintiffs object that the request as phrased is overbroad, it disregards the Court’s Order

19   limiting the scope of discovery, and it is otherwise improper. On March 30, 2023, the Court

20   entered a Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of

21   document requests regarding any evidence of bribe.” (underline in original; emphasis added).

22             Plaintiffs will produce any “evidence” of a bribe including -- with evidence meaning

23   "Something (including testimony, documents and tangible objects) that tends to prove or disprove

24   the existence of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United

25   States District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

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27                                                      18
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
                                   CASE NO. 3:22-CV-01101-WHA
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 1          Plaintiffs object that all documents and communications “concerning the alleged

 2   intermediary for bribe payments, Smart Team International, including any investigation or analysis

 3   You conducted to determine whether Smart Team International is associated with any of the

 4   defendants in this matter” is overbroad because it is not limited to “evidence” of a bribe. Further,

 5   at this time, given Defendants’ position that no bribe payment occurred through Smart Team,

 6   documents about Smart Team are not yet potentially responsive as evidence of a bribe. Plaintiffs

 7   believe a reasonable interpretation of this request is that it pertains to documents and

 8   communications that do not include communications with opposing counsel in this litigation or

 9   documents or communications of what would be subject to attorney client or work product

10   privilege such as between or among Plaintiffs’ counsel, their staff, clients, or consulting experts.

11   To the extent that the request intends to include such documents, including of such

12   communications, Plaintiffs object to the request as overbroad and improper, including because it

13   seeks documents protected by attorney-client privilege and the work product doctrine that reflect

14   the legal advice and legal strategies prepared for anticipated or pending litigation by Plaintiffs’

15   attorneys and consulting experts. Certain of the requested documents are protected under the work

16   product doctrine as they include information from counsel’s mental impressions and legal

17   conclusions and consulting experts. To the extent that Defendants are requesting production of

18   documents (including of communications) related to Plaintiffs’ counsel’s investigation of the

19   alleged bribes, such an unlimited scope contradicts the work product privilege position taken to

20   date by Meta Defendants as to facts and other information obtained from their internal

21   investigation(s), and Plaintiffs therefore assert a reciprocal objection identical to the scope of that

22   asserted by the Meta Defendants pending the Court’s adjudication of the issue of the extent to

23   which Meta Defendants must provide facts from its internal investigation. Plaintiffs expect that if

24   any such documents are produced pursuant to agreement by the Parties, then Defendants shall

25   agree to the same scope of discovery for any documents relating to their own investigation

26   regarding the alleged wrongful conduct alleged in this action. Plaintiffs interpret the time period

27                                                     19
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1   as pertaining to the scope of discovery related to the operative complaint; to the extent a different

 2   time period is intended, Plaintiffs further object that this request is not limited to a reasonable time

 3   period.

 4             Subject to and without waiving these objections, Plaintiffs will produce any responsive

 5   documents that are within the scope of the Court’s Order, are not privileged, and do not constitute

 6   attorney work product. To the extent this Request calls for documents protected by attorney work

 7   product, Plaintiffs are willing to meet and confer with Defendants at a mutually agreeable time

 8   and place concerning the scope of this Request.

 9   REQUEST FOR PRODUCTION NO. 11:

10             Any other Document or Communication You intend or expect to use in this case, including

11   in any motion or at any hearing, to support Your allegations that bribes or payments sent from

12   anybody associated with OnlyFans to Meta or any of Meta’s employees, agents, executives, or

13   representatives, including but not limited to Nicholas Clegg, Nicola Mendelsohn, or Cristian

14   Perrella.

15   RESPONSE:

16             Plaintiffs object that the request as phrased is overbroad, disregards the Court’s Order

17   limiting the scope of discovery, and otherwise improper. On March 30, 2023, the Court entered a

18   Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of document

19   requests regarding any evidence of bribe.” (underline in original; emphasis added). A demand for

20   “[a]ll Documents and Communications relating to Richard Bamberger” is wildly overbroad,

21   burdensome and intrusive, seeks documents that are irrelevant, and is inconsistent with the Court’s

22   expressed purpose of discovery at this point in the case.

23             Plaintiffs have already said they will produce any “evidence” of a bribe, with evidence

24   meaning "Something (including testimony, documents and tangible objects) that tends to prove or

25   disprove the existence of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge

26   v. United States District Court for the Central District of California, 219 F.3d 930, 937-38 (9th

27                                                     20
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1   Cir. 2000). To the extent that this request seeks documents other than “evidence” of bribe, it is

 2   improper.

 3          Plaintiffs’ also object to the terms “[a]ny other Document or Communication You intend

 4   or expect to use in this case” because it is broad enough to seek documents protected by attorney-

 5   client privilege and/or work product doctrine, by asking what a lawyer may “intend” or “expect”

 6   to do or use in advance of a hearing, or motion, or in the case generally which seeks documents

 7   and communications that reflect the legal advice, mental impressions and legal strategies prepared

 8   for anticipated or pending litigation by Plaintiffs’ attorneys and consulting experts. What Plaintiffs

 9   “intend” or “expect to use” is also vague and ambiguous, rather than focusing on the concrete point

10   to which Plaintiffs already agreed, that they Plaintiff will produce “evidence” of a bribe.

11          Plaintiffs will comply with their discovery and disclosure obligations under the Federal

12   Rules of Civil Procedure, the local rules, and the orders of the Court, including complying with

13   disclosure requirement of FRCP 26(a) as to document and witnesses on which they will rely.

14

15   REQUEST FOR PRODUCTION NO. 12:

16          All Documents produced to You pursuant to any subpoena issued in this case, including

17   but not limited to documents produced by WIRED, the Federal Reserve, HSBC, or any other banks

18   in the chain of the alleged bribe and all Communications between you and any subpoena recipient.

19   RESPONSE:

20          Plaintiffs object that the request as phrased is overbroad, disregards the Court’s Order

21   limiting the scope of discovery, and otherwise improper. On March 30, 2023, the Court entered a

22   Minute Order (Doc. 143) stating in part that “Meta may serve a reasonable set of document

23   requests regarding any evidence of bribe.” (underline in original; emphasis added). A demand for

24   “[a]ll Documents and Communications relating to Richard Bamberger” is wildly overbroad,

25   burdensome and intrusive, seeks documents that are irrelevant, and is inconsistent with the Court’s

26   expressed purpose of discovery at this point in the case.

27                                                    21
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
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 1           Plaintiffs will produce any “evidence” of a bribe, with evidence meaning "Something

 2   (including testimony, documents and tangible objects) that tends to prove or disprove the existence

 3   of an alleged fact." Black's Law Dictionary 576 (7th ed. 1999).” DeGeorge v. United States

 4   District Court for the Central District of California, 219 F.3d 930, 937-38 (9th Cir. 2000).

 5           The requests for “All Documents produced to You pursuant to any subpoena issued in this

 6   case” exceeds that limited scope, since it purports to apply generally to any subpoena during the

 7   case.

 8           Plaintiffs will comply with their discovery and disclosure obligations under the Federal

 9   Rules of Civil Procedure, the local rules, and the orders of the Court. Plaintiffs will promptly

10   provide copies to Defendants of documents produced by third parties. Plaintiffs are not aware of

11   legal authority requiring them to provide Defendants with ongoing copies of all communications

12   with subpoena recipients as they occur or to include them in all communications with subpoena

13   recipients, or in all communications with them, and requests any authority of that position. A

14   communication about a subpoena (such as to schedule a call) is not “evidence” of a bribe, and this

15   beyond the scope of the Court’s March 30, 2023 order.

16

17   Dated: May 8, 2023
                                                  MILBERG COLEMAN BRYSON
18                                                PHILLIPS GROSSMAN, PLLC
19
                                                  /s/ David E. Azar
20                                                David E. Azar, ESQ. (SBN 218319)
                                                  280 S. Beverly Drive, Suite PH
21                                                Beverly Hills, California 90212
                                                  Telephone: 1 -866 -252 -0878
22
                                                  Email: dazar@milberg.com
23
                                                  EMERGE LAW GROUP, P.C.
24                                                Timothy L. Alger (SBN 160303)
                                                  100 Spectrum Center Drive, Suite 900
25                                                Irvine, California 92618
                                                  Telephone: 949-936-2610
26
                                                  tim@emergelawgroup.com
27                                                   22
        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
                                   CASE NO. 3:22-CV-01101-WHA
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 1                                                 Attorney for Plaintiffs
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 3                                    CERTIFICATE OF SERVICE
 4          I, David E. Azar, an attorney, hereby certify that on May 8, 2023, I caused a true and correct
 5   copy of the PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS
 6   INSTAGRAM, LLC, FACEBOOK OPERATIONS, LLC, AND META PLATFORMS, INC.’S
 7   FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS foregoing to be served
 8   electronically by e-mail to at least one counsel for each party at an email address also used by the
 9   Court’s CM/ECF system.
10
                                                           /s/ David E. Azar
11
                                                           David E. Azar
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        PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS INSTAGRAM, LLC, FACEBOOK
      OPERATIONS, LLC, AND META PLATFORMS, INC.’S FIRST SET OF REQUESTS FOR PRODUCTION OF
                                          DOCUMENTS
                                   CASE NO. 3:22-CV-01101-WHA
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                                                           Dan-Pltf-000002
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                                                           Dan-Pltf-000006
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                                                           Dan-Pltf-000007
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                                                           Dan-Pltf-000008
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                                                           Dan-Pltf-000009
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                                                           Dan-Pltf-000010
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                                                           Dan-Pltf-000011
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                                                           Dan-Pltf-000012
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                                                           Dan-Pltf-000013
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             EXHIBIT 10
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO DIVISION
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12   DAWN DANGAARD, et al.,                           CASE NO. 3:22-CV-01101-WHA
13                 Plaintiffs,                        DECLARATION OF SIR NICHOLAS
14                                                    CLEGG
            v.
15
     INSTAGRAM, LLC, et al.,
16
                   Defendants.
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     DECLARATION OF SIR NICHOLAS CLEGG                                     CASE NO. 3:22-CV-01101-WHA
       Case 3:22-cv-01101-WHA             Document 166-1       Filed 07/06/23     Page 140 of 154



 1   I, Nicholas Clegg, declare as follows:
 2          1.      I have personal knowledge of the matters in this declaration, and I am competent to testify

 3   to the matters set forth below.

 4          2.      From May 5, 2005, to May 3, 2017, I served as a Member of the Parliament of the United

 5   Kingdom in the House of Commons. In addition, from May 11, 2010, to May 8, 2015, I served as the

 6   Deputy Prime Minister of the United Kingdom.

 7          3.      On October 22, 2018, I began my employment with Facebook Operations, LLC as Vice-

 8   President of Global Affairs and Communications, in which role I oversaw Facebook’s communications

 9   and content policies.

10          4.      In February 2022, I was elevated to the position of President, Global Affairs at Meta

11   Platforms, Inc., a role in which I oversee Meta’s Global Policy group, among other responsibilities, and

12   in which role I continue to serve today.

13          5.      I have reviewed the Second Amended Class Action Complaint filed in this matter

14   (“Complaint”). That Complaint alleges, in essence, that I accepted bribes from individuals associated

15   with OnlyFans in exchange for agreeing to “blacklist” adult entertainment providers who had “promoted,

16   or affiliated online with, any of OnlyFans’ competitors, and thus to suppress traffic to OnlyFans’

17   competitors.” ECF No. 74, ¶ 97. That allegation is categorically false. I have never accepted any “bribes”

18   or any monetary payment from anyone (including OnlyFans) in exchange for actioning adult

19   entertainment-related content on Meta’s platforms. The claim that I would accept bribes in exchange for

20   taking actions to “blacklist” competitors of OnlyFans is preposterous and false.

21          6.      I am aware that the plaintiffs in the above-captioned matter allege that an entity named

22   “Smart Team made a transfer to a Trust account at PBCOM [The Philippine Bank of Communications] in

23   the name of                                      . ECF No. 74, ¶ 81. I have no knowledge of any such

24   transfer, and I believe this to be a false allegation. Neither I nor any member of my immediate family—

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27
     including my
                    -                         —has ever held a bank account of any kind at The Philippine Bank

     of Communications or any other Philippine financial institution. I have never heard of an entity named



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      DECLARATION OF SIR NICHOLAS CLEGG                                           CASE NO. 3:22-CV-01101-WHA
       Case 3:22-cv-01101-WHA             Document 166-1       Filed 07/06/23      Page 141 of 154



 1   Smart Team, and to my knowledge neither I nor any member of my immediate family has ever received
 2   a wire transfer from an entity named Smart Team.
 3          7.      I am aware that plaintiffs in the above-captioned matter also allege that the purported
 4   payments from Smart Team were in fact payments from Fenix International Ltd. ECF No. 74, ¶ 78. I
 5   have never received payments from Fenix International Ltd. or to my knowledge any entity that is
 6   affiliated with OnlyFans. To my knowledge, neither has any member of my immediate family, including
 7

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 9
     my
          - 8.
                    received payments of such kind in any form.

                    I have reviewed Exhibit D to plaintiffs’ Second Amended Complaint, ECF No. 75-4, which

     purports to contain information regarding wire transfers from entities associated with OnlyFans to a trust
10

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12
     account at PBCOM in the name of my
                                            -                          . I have no knowledge of, awareness of,

     or familiarity with the alleged wire-transfer transactions referenced in Exhibit D.

            9.      I am further aware that plaintiffs in the above-captioned matter allege that I “was able to
13   direct that data be entered into the Threat Exchange and/or GIFCT databases.” ECF No. 75-3, ¶ 81. I
14   have never directed that data associated with adult-entertainment platforms be entered into the Threat
15   Exchange or the GIFCT database. Neither have I directed that data associated with adult entertainers be
16   entered into the Threat Exchange or the GIFCT database.
17          I declare under penalty of perjury under the laws of the United States of America that the foregoing
18   is true and correct. Executed on this 23rd day of March 2023, in London, United Kingdom.
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                                                          Sir Nicholas Clegg
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      DECLARATION OF SIR NICHOLAS CLEGG                    2                          CASE NO. 3:22-CV-01101-WHA
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             EXHIBIT 11
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN FRANCISCO DIVISION
11

12   DAWN DANGAARD, et al.,                          CASE NO. 3:22-CV-01101-WHA
13                 Plaintiffs,                       DECLARATION OF NICOLA
14                                                   MENDELSOHN
            v.
15
     INSTAGRAM, LLC, et al.,
16
                   Defendants.
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     DECLARATION OF NICOLA MENDELSOHN                                     CASE NO. 3:22-CV-01101-WHA
       Case 3:22-cv-01101-WHA            Document 166-1        Filed 07/06/23     Page 144 of 154



 1   I, Nicola Mendelsohn, declare as follows:
 2          1.      I have personal knowledge of the matters in this declaration, and I am competent to testify

 3   to the matters set forth below.

 4          2.      In June 2013, I began my employment with Facebook as the Vice-President for Europe,

 5   and the Middle East and Africa (EMEA), a position I occupied until October 2021.

 6          3.      In October 2021, I was elevated to the position of Vice-President of Meta’s Global

 7   Business Group, in which role I oversee Meta’s global advertising business. In February 2023, I was

 8   elevated to the position of Head of the Global Business Group and Partnerships.

 9          4.      I have reviewed the Second Amended Class Action Complaint filed in this matter

10   (“Complaint”). That Complaint alleges, in essence, that I accepted bribes from individuals associated

11   with OnlyFans in exchange for agreeing to “blacklist” adult entertainment providers who had “promoted,

12   or affiliated online with, any of OnlyFans’ competitors, and thus to suppress traffic to OnlyFans’

13   competitors.” ECF No. 74, ¶ 97. That allegation is categorically false. I have never accepted any “bribes”

14   or any monetary payment from anyone (including OnlyFans) in exchange for actioning adult

15   entertainment-related content on Meta’s platforms. The claim that I would accept bribes in exchange for

16   taking actions to “blacklist” competitors of OnlyFans is preposterous and false.

17          5.      I am aware that the plaintiffs in the above-captioned matter allege that an entity named

18   “Smart Team made transfers to ‘Nicola Mendelsohn Trust’ at PBCOM [The Philippine Bank of

19   Communications] in five transactions between 2017 and 2019. ECF No. 75-3, ¶ 82. I have no knowledge

20   of any such transfer, and I believe this to be a false allegation. Neither I nor any member of my immediate

21   family has ever held a bank account of any kind at The Philippine Bank of Communications or any other

22   Philippine financial institution. I have never heard of an entity named Smart Team, and to my knowledge

23   neither I nor any member of my immediate family has ever received a wire transfer from an entity named

24   Smart Team.

25          6.      I am aware that plaintiffs in the above-captioned matter also allege that the purported

26   payments from Smart Team were in fact payments from Fenix International Ltd. ECF No. 74, ¶ 78. I

27   have never received payments from Fenix International Ltd. or to my knowledge any entity that is

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      DECLARATION OF NICOLA MENDELSOHN                                             CASE NO. 3:22-CV-01101-WHA
       Case 3:22-cv-01101-WHA            Document 166-1        Filed 07/06/23     Page 145 of 154



 1   affiliated with OnlyFans. To my knowledge, neither has any member of my immediate family received
 2   payments of such kind in any form.
 3          7.      I have reviewed Exhibit D to plaintiffs’ Second Amended Complaint, ECF No. 75-4, which
 4   purports to contain information regarding wire transfers from entities associated with OnlyFans to a trust
 5   account at PBCOM in my name. I have no knowledge of, awareness of, or familiarity with the alleged
 6   wire-transfer transactions referenced in Exhibit D.
 7          8.      I am further aware that plaintiffs in the above-captioned matter allege that I “was able to
 8   direct that data be entered into the Threat Exchange and/or GIFCT databases.” ECF No. 75-3, ¶ 82. I
 9   have never directed that data associated with adult-entertainment platforms be entered into the Threat
10   Exchange or the GIFCT database. Neither have I directed that data associated with adult entertainers be
11   entered into the Threat Exchange or the GIFCT database.
12          I declare under penalty of perjury under the laws of the United States of America that the foregoing
13   is true and correct. Executed on this 23rd day of March 2023, in London, United Kingdom.
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                                                           Nicola, The Lady Mendelsohn CBE
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      DECLARATION OF NICOLA MENDELSOHN                     2                         CASE NO. 3:22-CV-01101-WHA
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             EXHIBIT 12
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                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERND~TRICTOFCALIFORNIA
10
                                       SAN FRAN~CO DIVISION
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12   DAWN DANGAARD, et al.,                      CASE NO. 3:22-ev-01101-WHA
13                 Plaintiffs.                   DECLARATION OF CRISTIAN
14                                               PERRELLA
            v.
15
     INSTAGRAM, LLC, et al.,
16
                   Defendants.
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     DBCLARATION OF CRlsTIANPERRm.LA                                  CASH NO. 3:22-CV-01101-WHA
Case 3:22-cv-01101-WHA                  Document 166-1          Filed 07/06/23           Page 148 of 154


 1   I, Cristian Perrella, declare as follows:

 2           1.     I have personal knowledge of the matters in this declaration, and I am competent to testify

 3   to the matters set forth below.

 4           2.     In September 2010, I began my employment with Facebook as the Head of Law

 5   Enforcement Outreach for Europe, and the Middle East and Africa (EMEA), and I am now the Director

 6   of Law Enforcement Outreach for EMEA, in which role I interface with law enforcement personnel, and,

 7   among other things, coordinate with internal Meta teams focusing on counter-terrorism regarding

 8   information I receive from law enforcement.

 9           3.     I have reviewed the Second Amended Class Action Complaint filed in 1his matter

10   ("Complaint''). That Complaint alleges, in essence, that I accepted bn~s from individuals associated

11   with OnlyFans in exchange for agreeing to ''blacklisf' adult entertainment providers who had "promoted,

12   or affiliated online with, any of OnlyFans' competitors, and thus to suppress traffic to OnlyFans'

13   competitors." ECF No. 74, ,r 97. That allegation is categorically false. I have never accepted any ''bribes"

14   or any monetary payment· from anyone (including OnlyFans) in exchange for actioning adult

15   entertainment-related content on Meta's platforms. The claim that I would accept bribes in exchange for

16   taking actions to ''blacklist'' competitors ofOnlyFans is preposterous and false.

17           4.     I am aware that the plaintiffs in the above-captioned matter allege that an entity named

18   "Smart Team made several transfers to 'Cristian Peralta Trust' at PBCOM [The Philippine Bank of

19   Communications] in 2018." ECF No. 75-3, 183. My name is not now, nor has it ever been "Cristian

20   Peralta," and I have never been known by that name. Additionally, I have no knowledge of any such

21   transfer, and I believe this to be a false allegation. Neither I nor any member of my immediate family has

22   ever held a bank account of any kind at The Philippine Bank of Communications or any other Philippine

23   financial institution. I have never heard of an entity named Smart Team, and to my knowledge neither I

24   nor any member of my immediate family has ever received a wire transfer from an entity named Smart

25   Team.

26           5.     I am aware that i,la.intiffs in the above-captioned matter also allege that the puiported

27   payments from Smart Team were in fact payments from Fenix International Ltd. ECF No. 74, ,r 78. I

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      DECLARATION OF CRlsTIANPERRELLA                                              CASBNO.3:22-cv-01101-WHA
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 1   have never heard of or received payments from an entity named Fenix International Ltd. or to my

 2   knowledge received payments from any entity that is affiliated with OnlyFans. To my knowledge, neither

 3   has any member of my immediate family received payments of such kind in any form.

 4           6.     IhavereviewedExhibitDtoplaintiffs' SecondAmendedComplaint,ECFNo. 75-4, which

 5   purports to contain information regarding wire transfers from entities associated with OnlyFans to a trust

 6   account at PBCOM in the name of"Cristian Peralta." I have no knowledge of: awareness ot: or familiarity

 7   with the alleged wire-transfer transactions referenced in Exhibit D, and my name is not "Cristian Peralta."

 8          7.      I am further aware that plaintiffs in the abov~tioned matter allege that my "position of

 9   trust within Meta, and [my] expertise in Facebook's cybersecurity operations and responses to human

10   trafficking, meant that [I] was well-positioned to illicitly enter data (or direct subordinates to enter data)

11   to the Threat Exchange and GIFCT databases." ECF No. 75-3, 182. I have never directed that data
12   associated with adult-entertainment platforms be entered into the Threat Exchange or the GIFCT database.

13   Neither have I directed that data associated with adult entertainers be entered into the Threat Exchange or

14   the GIFCT database. I do not even have access to the Threat Exchange or the GIFCT database.

15          I declare under penalty ofperjury under the laws ofthe United States of America that the foregoing
16   is true and correct. Executed on this 23rd day of March 2023, in Milan, Italy.
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     DECLARATION OP CRISTIANPmumI.I.A                       2                          CASE No. 3:22-cv-01101-WHA
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